                                                                   Case 2:19-bk-24804-VZ             Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27                            Desc
                                                                                                      Main Document    Page 1 of 54




                                                                   1   Richard M. Pachulski (CA Bar No. 90073)
                                                                       Jeffrey W. Dulberg (CA Bar No. 181200)
                                                                   2   Malhar S. Pagay (CA Bar No. 189289)
                                                                       PACHULSKI STANG ZIEHL & JONES LLP
                                                                   3   10100 Santa Monica Blvd., 13th Floor
                                                                       Los Angeles, California 90067
                                                                   4   Telephone: 310/277-6910
                                                                       Facsimile: 310/201-0760
                                                                   5   Email: rpachulski@pszjlaw.com
                                                                               jdulberg@pszjlaw.com
                                                                   6           mpagay@pszjlaw.com
                                                                       Counsel for Debtor and Debtor in Possession
                                                                   7
                                                                                                       UNITED STATES BANKRUPTCY COURT
                                                                   8                                    CENTRAL DISTRICT OF CALIFORNIA
                                                                                                             LOS ANGELES DIVISION
                                                                   9
                                                                       In re:                                                         Case No. 2:19-bk-24804-VZ
                                                                  10
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                       YUETING JIA,1                                                  Chapter 11
                                                                  11
                                                                                             Debtor.                                  NOTICE OF FILING OF PLAN
                                        LOS ANGELES, CALIFORNIA




                                                                  12
                                           ATTORNEYS AT LAW




                                                                                                                                      SUPPLEMENT TO DEBTOR’S THIRD
                                                                                                                                      AMENDED PLAN OF REORGANIZATION
                                                                  13                                                                  UNDER CHAPTER 11 OF THE
                                                                                                                                      BANKRUPTCY CODE
                                                                  14
                                                                                                                                      Plan Confirmation Hearing
                                                                  15                                                                  Date:       May 21, 2020
                                                                                                                                      Time:       9:30 a.m. (Pacific time)
                                                                  16                                                                  Place:      Courtroom 1368
                                                                                                                                                  Roybal Federal Building
                                                                  17                                                                              255 E. Temple Street
                                                                                                                                                  Los Angeles, California 90012
                                                                  18                                                                  Judge:      Hon. Vincent P. Zurzolo
                                                                                                                                     [Relates to Docket No. 464]
                                                                  19
                                                                                PLEASE TAKE NOTICE that in accordance with the Order (I) Granting Motion to
                                                                  20
                                                                       Approve Adequacy of Fourth Amended Disclosure Statement, (II) Approving Voting and Tabulation
                                                                  21
                                                                       Procedures, (III) Setting Confirmation Hearing and Related Deadlines, (IV) Waiving Certain Local
                                                                  22
                                                                       Rules and Procedures, (V) Vacating Order to Show Cause and (VI) Granting Related Relief, entered
                                                                  23
                                                                       on March 20, 2020 [Docket No. 485] (the “Disclosure Statement Order”), Yueting Jia, the debtor
                                                                  24
                                                                       and debtor in possession in the above-captioned Chapter 11 Case (the “Debtor”), filed the Motion
                                                                  25

                                                                  26

                                                                  27   1
                                                                        The last four digits of the Debtor’s federal tax identification number are 8972. The Debtor’s mailing address is 91
                                                                       Marguerite Drive, Rancho Palos Verdes, CA 90275.
                                                                  28
                                                                       DOCS_LA:329179.1 46353/002
                                                                   Case 2:19-bk-24804-VZ                Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27                           Desc
                                                                                                         Main Document    Page 2 of 54


                                                                   1   For Order (I) Confirming Third Amended Plan of Reorganization Under Chapter 11 of the

                                                                   2   Bankruptcy Code; and (II) Approving Settlement Pursuant To Bankruptcy Rule 9019; Request for

                                                                   3   Discharge on the Effective Date [Docket No. 657] (the “Motion”) on April 23, 2020.

                                                                   4              PLEASE TAKE FURTHER NOTICE that the Debtor’s Third Amended Plan of

                                                                   5   Reorganization Under Chapter 11 of the Bankruptcy Code [Docket No. 464] (the “Plan”)2

                                                                   6   contemplates the submission of certain documents (or forms thereof), schedules, and exhibits

                                                                   7   (the “Plan Supplement”) in advance of the Confirmation Hearing.

                                                                   8              PLEASE TAKE FURTHER NOTICE that the Debtor hereby files the following Plan

                                                                   9   Supplement documents:

                                                                  10                      Exhibit A         Form of Trust Agreement

                                                                  11                      Exhibit B         Terms of the KCBI Settlements
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12                      Exhibit C         Exit Financing Term Sheet
                                        LOS ANGELES, CALIFORNIA




                                                                  13                      Exhibit D         Members of the Creditor Trust Committee
                                           ATTORNEYS AT LAW




                                                                  14                      Exhibit E         Supplement to Schedule A of the Plan

                                                                  15              PLEASE TAKE FURTHER NOTICE that the documents contained in the Plan

                                                                  16   Supplement are integral to, and are considered part of, the Plan. If the Plan is confirmed, the

                                                                  17   documents contained in the Plan Supplement will be approved by the Bankruptcy Court pursuant to

                                                                  18   the order confirming the Plan.

                                                                  19              PLEASE TAKE FURTHER NOTICE that the Debtor currently does not contemplate

                                                                  20   seeking to reject any executory contracts or unexpired leases under the Plan, however, and the

                                                                  21   Debtor reserves the right to alter, amend, modify, or supplement any of the documents contained in

                                                                  22   the Plan Supplement in accordance with the terms of the Plan.

                                                                  23              PLEASE TAKE FURTHER NOTICE that if you wish to obtain copies of the Plan

                                                                  24   Supplement, you may do so by (i) calling Epiq Corporate Restructuring LLC (the “Voting Agent”),

                                                                  25   at (855) 963-0391 (for U.S. callers), (400) 120-3077 (for Chinese callers), or (503) 520-4401 (for

                                                                  26   international callers) and requesting copies of the Plan Supplement, which will then be mailed to you

                                                                  27

                                                                  28   2
                                                                           Capitalized terms not otherwise defined herein shall have the same meanings as set forth in the Plan.

                                                                       US-DOCS\115542921.4
                                                                       DOCS_LA:329179.1 46353/002                                    2
                                                                   Case 2:19-bk-24804-VZ            Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27              Desc
                                                                                                     Main Document    Page 3 of 54


                                                                   1   free of charge, (ii) visiting (a) the Voting Agent’s website: https://dm.epiq11.com/yt1, where the

                                                                   2   Plan Supplement will be posted and can be reviewed free of charge or (b) the Bankruptcy Court’s

                                                                   3   website: www.cacb.uscourts.gov, or (iii) contacting the Voting Agent by email at

                                                                   4   tabulation@epiqglobal.com (please reference “YT” in the subject line) and requesting copies of the

                                                                   5   Plan Supplement, which will then be mailed to you free of charge. Note that a PACER password and

                                                                   6   login are needed to access documents on the Bankruptcy Court’s website.

                                                                   7
                                                                       Dated:     April 25, 2020                    PACHULSKI STANG ZIEHL & JONES LLP
                                                                   8

                                                                   9                                                By       /s/Malhar S. Pagay
                                                                                                                             Richard M. Pachulski
                                                                  10                                                         Jeffrey W. Dulberg
                                                                                                                             Malhar S. Pagay
                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                                                                             Attorneys for Debtor and Debtor in
                                                                  12                                                         Possession
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                  14

                                                                  15

                                                                  16

                                                                  17

                                                                  18

                                                                  19

                                                                  20

                                                                  21

                                                                  22

                                                                  23

                                                                  24

                                                                  25

                                                                  26

                                                                  27

                                                                  28

                                                                       US-DOCS\115542921.4
                                                                       DOCS_LA:329179.1 46353/002                        3
                                                                   Case 2:19-bk-24804-VZ            Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27   Desc
                                                                                                     Main Document    Page 4 of 54


                                                                   1                                                Exhibit A

                                                                   2                                         Form of Trust Agreement

                                                                   3

                                                                   4

                                                                   5

                                                                   6

                                                                   7

                                                                   8

                                                                   9

                                                                  10

                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                  14

                                                                  15

                                                                  16

                                                                  17

                                                                  18

                                                                  19

                                                                  20

                                                                  21

                                                                  22

                                                                  23

                                                                  24

                                                                  25

                                                                  26

                                                                  27

                                                                  28

                                                                       US-DOCS\115542921.4
                                                                       DOCS_LA:329179.1 46353/002                      4
Case 2:19-bk-24804-VZ   Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27 Desc
                         Main Document    Page 5 of 54              Confidential




                 FORM OF CREDITORS TRUST AGREEMENT

                              DATED         , 2020
Case 2:19-bk-24804-VZ                Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27                             Desc
                                      Main Document    Page 6 of 54



                                    CREDITORS TRUST AGREEMENT

This CREDITORS TRUST AGREEMENT (this “Agreement”) is made as of this [●] day of [●],
2020 (the “Effective Date”), by and between Yueting Jia, a natural person at 91 Marguerite
Drive, Rancho Palos Verdes, CA (the “Reorganized Debtor” and prior to the Effective Date, the
“Debtor”), and Jeffrey D. Prol, as the Trustee (the “Trustee”), and establishes the liquidating
trust (the “Trust”) in accordance with the Debtor’s Third Amended Plan of Reorganization
Under Chapter 11 of the Bankruptcy Code, dated as of March 20, 2020 (the “Plan”) and the
Findings of Fact, Conclusions of Law, and Order Confirming the Debtor’s Third Amended Plan
of Reorganization Under Chapter 11 of the Bankruptcy Code (the “Confirmation Order”).
Capitalized terms not otherwise defined herein have the meanings given to them in the Plan.

                                                     RECITALS

WHEREAS, on October 14, 2019 (the “Petition Date”), the Debtor, filed a voluntary petition
for relief under chapter 11 of title 11 (“Chapter 11 Case”) of the United States Code, 11 U.S.C.
§§ 101-1532 (the “Bankruptcy Code”) in the United States Bankruptcy Court for the District of
Delaware, the venue of which was thereafter transferred to the United States Bankruptcy Court
for the Central District of California Los Angeles Division (the “Bankruptcy Court”);
WHEREAS, the Plan was confirmed by the Bankruptcy Court on ___________ and became
effective on the Effective Date;
WHEREAS, the Trust is created pursuant to, and to effectuate the Plan for the primary purpose
of administering, maintaining, and liquidating the assets set forth in Schedule A (the “Trust
Assets”) in accordance with the Plan and Confirmation Order with no objective to continue or
engage in the conduct of a trade or business, except to the extent reasonably necessary to, and
consistent with, the liquidating purpose of the Trust;
WHEREAS, the Trust is created on behalf of, and for the sole benefit of, holders of Allowed
Debt Claims and the Reorganized Debtor3 (each such holder, a “Beneficiary” and collectively,
the “Beneficiaries”);
WHEREAS, the powers, authority, responsibilities and duties of the Trustee shall be governed
by this Agreement, the Plan, the Confirmation Order, and any applicable orders issued by the
Bankruptcy Court; and
WHEREAS, the Trust is intended to qualify as a liquidating trust within the meaning of Section
301.7701-4(d) of the Treasury Regulations.
NOW, THEREFORE, in consideration of the premises and the mutual covenants and
agreements contained herein, the Reorganized Debtor and the Trustee agree as follows:
                                                     ARTICLE I

                                                   DEFINITIONS

        Section 1.1 Definitions. Capitalized terms used in this Agreement shall have the
respective meanings set forth below:
           “ACT” has the meaning set forth in Section 3.4.



3
    [NTD: additional beneficiaries to be included if any parties make Trust Elections under Article IV of the Plan.]




                                                            1
Case 2:19-bk-24804-VZ         Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27                  Desc
                               Main Document    Page 7 of 54



       “Administrative Expense Claim” has the meaning set forth in Article 1.1 of the Plan.

       “Aggregate Asserted Debt Claim Amount” means the aggregate Debt Claim Allocation

Amounts of all Debt Claims asserted against the Debtor as of the Effective Date plus the total

amount reserved for Late Filed Debt Claims pursuant to Section 4.8(c).

       “Allowed” has the meaning set forth in Article 1.1 of the Plan. For the avoidance of

doubt, (i) payments received by the holder of an Allowed Claim prior to the Petition Date shall

reduce the Allowed amount of such Claim, and (ii) Allowed Debt Claim or Allowed China

Secured Claim means such portion of a Debt Claim or China Secured Claim that is Allowed,

even when the remaining portion of the same Claim is disputed.

       “Allowed KCBI Claimant” means a holder of an Allowed Debt Claim who also holds a

guarantee from a Key China Business Individual on the same obligation underlying their

Allowed Debt Claim and has voluntarily agreed to settle their claims against such Key China

Business Individual.

       “Applicable Law” means with respect to any person (including any individual,

corporation, partnership, limited liability company, association, trust or other entity or

organization), any transnational, domestic or foreign federal, state or local law (statutory,

common or otherwise), constitution, treaty, convention, ordinance, code, rule, regulation, order,

injunction, judgment, decree, ruling or other similar requirement enacted, adopted, promulgated,

or applied by a Governmental Authority that is binding upon or applicable to such person, as

amended unless expressly specified otherwise.

       “Business Day” means a day, other than Saturday, Sunday or “legal holiday” (as defined

in Bankruptcy Rule 9006(a)).

       “Bankruptcy Actions” has the meaning set forth in Article 11.9 of the Plan.




                                                  2
Case 2:19-bk-24804-VZ         Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27                Desc
                               Main Document    Page 8 of 54



         “Bankruptcy Actions Limitation Period” has the meaning set forth in Article 11.9 of

the Plan.

         “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure, the Official

Bankruptcy Forms, or the local rules of the Bankruptcy Court.

         “Call Option” means the call option to purchase shares of FF Intelligent held by Season

Smart, subject to conditions set forth in the Restructuring Agreement, exercise of which is

subject to Section 4.3.6.

         “China Debtor List Covenant” has the meaning set forth in Article 11.4(c) of the Plan.

         “China Secured Claim” has the meaning set forth in Article 1.1 of the Plan.

         “Chinese Courts” means any applicable court or courts in the People’s Republic of

China.

         “Claim” means a claim, as defined in section 101(5) of the Bankruptcy Code, against the

Debtor.

         “Collateral” means any property of the Debtor subject to a valid, unavoidable, perfected,

and enforceable Lien on, or security interest in, such property.

         “Compliance Certificate” means the certificate that each Holder (not including the

Reorganized Debtor) must complete prior to receiving Trust Distributions, which certifies (a) the

Holder has complied with the China Debtor List Covenant, (b) that the Holder has not initiated,

and will not initiate, any YT Claims during the Standstill Period, (c) that the Holder

acknowledges and agrees that it will comply with Article 11.4(c) of the Plan and Section 4.9

hereof and will take all steps and execute any documents requested by the Reorganized Debtor to

evidence releases in Article 11.4(c) of the Plan, and (d) if applicable, the Holder has complied




                                                 3
Case 2:19-bk-24804-VZ         Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27                  Desc
                               Main Document    Page 9 of 54



with Article 6.6 of the Plan and the release of Wei Gan’s personal liability pursuant to the Wei

Gan Settlement. A form of the Compliance Certificate is attached as Exhibit A hereto.

       “Committee Member” has the meaning set forth in Section 8.1.

       “Confirmation Date” means the date upon which the Bankruptcy Court enters the

Confirmation Order on the docket of the Chapter 11 Case.

       “Creditor Trust Committee” means the committee that represents the Beneficiaries

with responsibilities, functions, and authorities as prescribed herein.

       “Debt Claim” has the meaning set forth in Article 1.1 of the Plan.

       “Debt Claim Allocation Amount” means, the Debt Claim Base Amount plus the Debt

Claim Supplemental Amount, and for any Allowed KCBI Claimant, 105% of the sum of the

Debt Claim Base Amount and the Debt Claim Supplemental Amount. For purposes of allocating

Trust Interests based on Debt Claim Allocation Amounts pursuant to Section 3.1, all Allowed

China Secured Claims shall be treated as Allowed Debt Claims. For the avoidance of doubt, if a

portion of an Allowed China Secured Claim has been Allowed as a Deficiency Claim, the holder

of such Allowed China Secured Claim shall only receive Trust Interests on behalf of their

Deficiency Claim. Pursuant to Article 4.3 of the Plan, to the extent the holder of an Allowed

China Secured Claim has not received the value of the Collateral securing its Allowed China

Secured Claim on or before the initial Debt Claim Distribution Date, such Allowed China

Secured Claim shall be treated as a Debt Claim for all purposes under the Plan and Trust

Agreement as of such Debt Claim Distribution Date. For Claims denominated in currencies other

than U.S. dollars, the exchange rate used to calculate the conversion between such currency and

U.S. dollars shall be the closing rate listed on Wall Street Journal on October 14, 2019. The

exchange rate of RMB to U.S. dollars on October 14, 2019 is 1 U.S. dollar = 7.0676 RMB.




                                                  4
Case 2:19-bk-24804-VZ          Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27                Desc
                                Main Document    Page 10 of 54



          “Debt Claim Base Amount” means that portion of a Debt Claim that constitutes

outstanding principal.

          “Debt Claim Distribution Amount” means on any Debt Claim Distribution Date, the

Debt Claim Allocation Amount minus any Other Distributions and Trust Distributions received

by the holder of an Allowed Debt Claim before such Debt Claim Distribution Date.

          “Debt Claim Distribution Date” mean a Trust Distribution Date on which the Trustee

makes distributions of any Distributable Proceeds to the fourth priority of the Distribution

Waterfall.

          “Debt Claim Supplemental Amount” means an amount equal to 0.33% of the Debt

Claim Base Amount times the number of whole months that the Debt Claim Base Amount was

incurred prior to the Petition Date.

          “Deficiency Claim” has the meaning set forth in Article 1.1 of the Plan.

          “Distributable Proceeds” means any distributable proceeds received by the Trust from

any disposition, or dividends or distributions in respect, of any Trust Assets after the payment of

claims, expenses, and liabilities pursuant to Section 4.7 hereof.

          “Distribution Event” means the receipt of Distributable Proceeds by the Trust.

          “Distribution Waterfall” means the distribution schedule set forth on Schedule B

hereto.

          “DIP Financing” means the debtor in possession financing pursuant to that certain

Secured Debtor in Possession Promissory Note, by and between Pacific Technology, as Lender,

and the Debtor, as Borrower dated as of February 27, 2020, as amended from time to time.

          “FF” means Faraday & Future Inc., a company incorporated in the State of California.

          “FF Global” means FF Global Partners LLC, a Delaware limited liability company.




                                                  5
Case 2:19-bk-24804-VZ          Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27                 Desc
                                Main Document    Page 11 of 54



        “FF Intelligent” means FF Intelligent Mobility Global Holdings Ltd., a Cayman Islands

company (formerly known as Smart King Ltd.).

        “FF Top” means FF Top Holding Ltd., a company organized in the British Virgin Islands

and an indirectly wholly-owned subsidiary of Pacific Technology.

        “Governmental Authority” means any transnational, domestic or foreign federal, state

or local governmental, regulatory or administrative authority, department, court, tribunal,

agency, commission, official, including any political subdivision thereof, any “self-regulatory

organization” as defined in Section 3(a)(26) of the Securities Exchange Act of 1934 and any

United States or foreign securities exchange, futures exchange, commodities exchange or

contract market and any other governmental authority or instrumentality.

        “Holder” has the meaning set forth in Section 3.2.

        “Initial Term” has the meaning set forth in Section 10.1.

        “Injunctions” means those certain preliminary injunctions, freezing orders, and/or

similar orders from courts in the British Virgin Islands and the United States federal courts

situated in the state of California that certain Trust Assets are subject to.

        “IPO” means closing of the sale of shares of capital stock (or American Depositary

Shares representing such shares) with respect to the shares of outstanding capital stock of FF

Intelligent or such other relevant listing vehicle, as applicable, to the public in a firm-

commitment underwritten public offering pursuant to an effective registration statement and

listing of such securities on the New York Stock Exchange, Nasdaq, the Hong Kong Stock

Exchange, the London Stock Exchange, or any other internationally recognized stock exchange

(including China).




                                                   6
Case 2:19-bk-24804-VZ            Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27                 Desc
                                  Main Document    Page 12 of 54



       “Key China Business Individual” means those certain Chinese individuals who

voluntarily enter into a KCBI Settlement with an Allowed KCBI Claimant.

       “KCBI Settlement” means a voluntary settlement agreement under Bankruptcy Rule

9019 between a Key China Business Individual, an Allowed KCBI Claimant, and the

Reorganized Debtor; the Reorganized Debtor’s contribution toward such settlement is reflected

in the Distribution Waterfall.

       “Late Filed Debt Claim” means a Debt Claim filed after the applicable deadline set by

the Bankruptcy Court to file claims in the Chapter 11 Case.

       “Liability Release Date” has the meaning set forth in Article 11.4(c) of the Plan.

       “Lien” means a lien as defined in section 101(37) of the Bankruptcy Code.

       “Liquidation Event” means with respect to Pacific Technology, FF Intelligent, any of

their respective material direct or indirect subsidiaries, or any future public listing vehicle for the

global subsidiaries of FF Intelligent or Pacific Technology, each of the following events to the

extent that the event materially reduces the direct or indirect percentage ownership in FF

Intelligent or such other future public listing vehicle by the Trust other than by virtue of an

equity investment by a bona fide third party: (a) the commencement of an assignment for the

benefit of creditors, a receivership, a case under chapter 7 of the Bankruptcy Code, or a similar

insolvency proceeding; (b) the effective date of a liquidating plan under chapter 11 of the

Bankruptcy Code, or (c) the effective date of a reorganization plan under chapter 11 of the

Bankruptcy Code, provided that internal reorganizations (including mergers or dissolutions for

tax or other purposes) that do not adversely impact the value of the Trust’s direct or indirect

interests in FF Intelligent or such other future public listing vehicle are not intended to be

Liquidation Events.




                                                   7
Case 2:19-bk-24804-VZ         Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27                Desc
                               Main Document    Page 13 of 54



       “Marketable Securities” means securities that are registered under securities law or

listed on a stock exchange or quotation system.

       “Other Distribution” means in each case, to the extent received after the Petition Date

(a) any amounts the holder of an Allowed Debt Claim actually receives from the primary obligor

or any guarantor besides the Debtor, of such Debt Claim based on such holder’s contractual

agreement with such primary obligor or guarantor, (b) if the primary debt obligation underlying

such Debt Claim is satisfied in whole or in part by conversion to equity in any jurisdiction, the

corresponding reduction in the amount of the Debt Claim on account of such conversion, or (c)

any amounts the holder of an Allowed China Secured Claim or Allowed Debt Claim actually

receives upon the disposition of any Seized China Assets.

       “Pacific Technology” means Pacific Technology Holding LLC, a Delaware limited

liability company.

       “Petition Date” means October 14, 2019, the date on which the Debtor filed his petition

for relief commencing the Chapter 11 Case.

       “Plan Arbitration Procedures” has the meaning set forth in Article 1.1 of the Plan.

       “Plan Term Sheet” means the chapter 11 plan term sheet, as amended, filed by the

Debtor with the United States Bankruptcy Court for the Central District of California as Exhibit

B to the Disclosure Statement approved by the Bankruptcy Court on March 20, 2020, setting

forth the material terms of the Plan.

       “Priority Non-Tax Claim” has the meaning set forth in Article 1.1 of the Plan.

       “Priority Tax Claim” has the meaning set forth in Article 1.1 of the Plan.

       “Professional” has the meaning set forth in Article 1.1 of the Plan.




                                                  8
Case 2:19-bk-24804-VZ         Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27                Desc
                               Main Document    Page 14 of 54



       “Pro Rata Share” means the respective Debt Claim Allocation Amount for each holder

of an Allowed Debt Claim in relation to the aggregate Debt Claim Allocation Amounts of all

Allowed Debt Claims.

       “Qualifying Financing” has the meaning set forth in Section 4.3.6.

       “Register” has the meaning set forth in Section 3.2.

       “Restructuring Agreement” means the Restructuring Agreement, dated as of December

31, 2018 by and among Smart King Ltd. (n/k/a FF Intelligent), the Debtor, Season Smart

Limited, and other parties thereto.

       “Schedules” means the schedules of assets and liabilities filed by the Debtor on October

17, 2019 [Docket No. 28] and amended on March 9, 2020 [Docket No. 427], as required by

section 521 of the Bankruptcy Code and Bankruptcy Rule 1007, including any supplements or

amendments thereto through the Confirmation Date.

       “Season Smart” means Season Smart Limited, a British Virgin Islands company.

       “SEC” means the U.S. Securities and Exchange Commission.

       “Seized China Assets” means any assets that (a) (i) have already been collateralized by

the Debtor or an obligor, guarantor, or pledgor, (ii) have already been pledged by the Debtor or

an obligor, guarantor, or pledgor, or (iii) the Debtor, or an obligor, guarantor, or pledgor owns

and (b) have been seized, attached, or frozen by Chinese judiciary authorities in connection with

Chinese enforcement actions on account of any China Secured Claims or Debt Claims.

       “Standstill Period” means, the period of four years after the Effective Date by which

each holder of an Allowed Debt Claim or Allowed China Secured Claim agrees to not assert any

new YT Claims in any non-U.S. jurisdiction; provided, however, that such holder may continue

to prosecute any actions commenced prepetition against the Debtor up to judgment and pursue




                                                 9
Case 2:19-bk-24804-VZ          Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27                   Desc
                                Main Document    Page 15 of 54



Other Distributions through judicial authorities in the PRC to satisfy such holder’s Debt Claim or

China Secured Claim through a mechanism that will be mutually agreed to by the parties,

including claims against primary obligors solely based on such holder’s contractual agreements

with such primary obligors (for the avoidance of doubt, such holder may not bring unwinding or

alter ego type claims against such primary obligors); provided further, however, that (i) the

Standstill Period shall terminate in the event a Liquidation Event occurs during the Standstill

Period and (ii) if an IPO occurs during the Initial Term, the Standstill Period shall be

automatically extended through the conclusion of the period on restriction of disposition for the

Trust FF Intelligent Shares as set forth on Schedule C attached hereto. All limitations periods

applicable to all YT Claims in any non-U.S. jurisdictions, to the extent not previously expired,

shall be tolled for the duration of the Standstill Period.

       “Term” means the term of the Trust.

       “Transfer” means an offer, pledge, sale, contract to sell, option, purchase, or grant any

option, right, or warrant to purchase, lend, or otherwise transfer or dispose of directly or

indirectly, or enter into any swap, hedging, or other arrangement that transfers to another, in

whole or in part, any of the economic consequences of ownership.

       “Trust Distribution” means any distributions paid from the Trust to the Holders.

       “Trust Distribution Affidavit” means the affidavit to be provided by Holders (but not

including the Reorganized Debtor) no later than seven (7) Business Days prior to each Trust

Distribution Date, which identifies any amounts (or value with respect to Collateral) received by

such Holder from Other Distributions as of the date of the affidavit.




                                                  10
Case 2:19-bk-24804-VZ        Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27                Desc
                              Main Document    Page 16 of 54



       “Trust Distribution Date” means the date, which shall occur no less frequently than

annually so long as there are Distributable Proceeds, on which the Trustee makes distributions of

any Distributable Proceeds pursuant to the Distribution Waterfall.

       “Trust FF Intelligent Shares” means 147,058,823 outstanding Class B shares of FF

Intelligent held by and transferred from FF Top to the Trust pursuant to the Warrant.

       “Trust Financing” means a committed financing in an amount of [●], pursuant to that

certain [Trust Financing Agreement], dated as of [●] by and [among/between] [Reorganized

Debtor] and [●], to fund the operation of the Trust for the Initial Term and to make payments

required to be made in connection with the Plan.

       “Trust Interest” has the meaning set forth in Section 3.1.

       “Undetermined Claim Holding Beneficiary” has the meaning set forth in Section 4.8.

       “U.S. Secured Claim” has the meaning set forth in Article 1.1 of the Plan.

       “Warrant” has the meaning set forth in the Schedule A listing the Trust Assets.

       “Wei Gan Settlement” has the meaning set forth in Article 6.6 of the Plan.

       “YT Claims” has the meaning set forth in Article 11.4(a) of the Plan.

       Section 1.2 Interpretation and Rules of Construction. For purposes of this Agreement
       and unless otherwise specified herein (i) the rules of construction set forth in section 102
       of the Bankruptcy Code shall apply; (ii) any reference in this Agreement to an existing
       document, schedule, or exhibit, whether or not filed with the Bankruptcy Court, shall
       mean such document, schedule, or exhibit, as it may have been or may be amended,
       modified, or supplemented; (iii) any reference to an entity as a holder of a Claim includes
       that entity’s permitted successors and assigns; and (iv) the words “include” and
       “including,” and variations thereof, shall not be deemed to be terms of limitations, and
       shall be deemed to be followed by the words “without limitation.”

        Section 1.3 Incorporation of Plan. The Plan is hereby incorporated into this
Agreement and made a part hereof by this reference; provided, however, that in the event of any
conflict between the terms of the Plan and this Agreement, the terms of the Plan will control and
govern. For the avoidance of doubt, any matters in this Agreement not contemplated by the Plan
shall be governed by this Agreement.




                                                11
Case 2:19-bk-24804-VZ              Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27                            Desc
                                    Main Document    Page 17 of 54



                                                  ARTICLE II

                                  ESTABLISHMENT OF THE TRUST

        Section 2.1 Creation and Name. There is hereby created the Trust, which shall be
known as [NAME OF THE TRUST], and is the same Trust referred to as the Trust under the
Plan. The Trustee may conduct the affairs of the Trust under the name of [NAME OF THE
TRUST].
        Section 2.2 Declaration of Trust. In consideration of the confirmation of the Plan
under the Bankruptcy Code, the discharge of the Debtor pursuant to the Bankruptcy Code under
the Confirmation Order, and the releases by Holders under Article XI of the Plan, the
Reorganized Debtor and the Trustee have executed this Agreement and, effective on the
Effective Date, the Trust Assets are hereby deemed to have been irrevocably assigned,
transferred, and conveyed to the Trust and/or to the Trustee on behalf of the Trust free and clear
of any lien, claim, or interest in such property of any other person or entity, to have and to hold
unto the Trustee forever, in trust nevertheless, under and subject to the terms and conditions of
this Agreement and of the Plan, for the benefit of the Beneficiaries and their successors and
assigns as permitted for under the Plan and this Agreement. The use and distribution of Trust
Assets to the Beneficiaries shall be made in accordance with this Agreement and the Plan.
        Section 2.3 Purpose of the Trust. The Trust is established to hold, manage, and
maximize the Trust Assets in accordance with Treasury Regulations Section 301.7701-4(d),
with no objective to continue or engage in the conduct of a trade or business, except to the extent
reasonably necessary to, and consistent with, the liquidating purpose of the Trust.
        Section 2.4 Trustee. The Trustee is Jeffrey D Prol, a partner at the firm of Lowenstein
Sandler LLP, and any successor trustee appointed under ARTICLE VII.
                                                 ARTICLE III

                             BENEFICIARIES AND TRUST INTERESTS

         Section 3.1       Trust Interests.4
                 (a)     Upon the transfer of the Trust Assets to the Trust, (i) each holder of an
Allowed Debt Claim as of the Effective Date will receive an initial beneficial interest in the Trust
(the “Trust Interest”) based on its Debt Claim Allocation Amount in relation to the Aggregate
Asserted Debt Claim Amount, (ii) the Undetermined Claim Holding Beneficiary will receive an
initial Trust Interest based on (y) the Aggregate Asserted Debt Claim Amount minus the
aggregate Debt Claim Allocation Amounts of all Allowed Debt Claims as of the Effective Date,
in relation to (z) the Aggregate Asserted Debt Claim Amount, and (iii) the Reorganized Debtor
shall receive a Trust Interest representing its interest in the Distribution Waterfall (all of which
beneficial interests shall be adjusted as appropriate to take into account Claims described in
clause (c) of the Distribution Waterfall). The Trust Interests shall not be evidenced by
certificates. The initial beneficial interests described in (i) and (ii) above shall thereafter be re-
determined as described in Section 4.8 to appropriately reflect the disposition of Debt Claims
after the Effective Date.



4
 [NTD: appropriate priorities to be included as necessary if parties make Trust Elections under Article IV of the
Plan.]




                                                         12
Case 2:19-bk-24804-VZ         Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27                 Desc
                               Main Document    Page 18 of 54



                (b)    If so requested by a holder of the Trust Interest, the Trustee shall hold the
Trust Interests on behalf of such holder and record the same in the Register until such holder
obtains necessary approval to hold the Trust Interests either pursuant to its internal procedures or
Applicable Law.

        Section 3.2 Identification of Holders of Trust Interests. The holders of Trust Interests
(each, a “Holder” and, collectively, the “Holders”) shall be recorded and set forth in the official
register maintained by the Trustee (the “Register”) expressly for such purpose.
        Section 3.3 Transferability. Trust Interests may be transferred upon written notice to
the Trustee in compliance with Fed. R. Bankr. P. 3001(e) and any Applicable Law.
Notwithstanding the foregoing, the Trust Interests may not be transferred to the extent that such
transfer would (a) based on the advice of counsel to the Trust, jeopardize the Trust’s or the
Undetermined Claim Holding Beneficiary’s tax treatment; (b) cause the Trust to become subject
to any governmental controls or regulations that affect the administration of the Trust or the
Trust Assets, including, but not limited to, any SEC reporting requirements; (c) violate
Applicable Law (including any securities law) or any instrument to which the Trust is a party or
by which it is bound; or (d) cause the Trust to become an “investment company” within the
meaning of the Investment Company Act of 1940, as amended.
      Section 3.4 Registration. THE TRUST INTEREST HAVE NOT BEEN
REGISTERED UNDER THE SECURITIES ACT OF 1933, AS AMENDED (THE “ACT”),
AND (A) MAY BE OFFERED, RESOLD, PLEDGED, HYPOTHECATED, OR
TRANSFERRED ONLY IN ACCORDANCE WITH THE TERMS OF THE CREDITORS
TRUST AGREEMENT DATED AS OF [●], 2020 BETWEEN THE TRUSTEE AND THE
REORGANIZED DEBTOR AND (I) PURSUANT TO ANY AVAILABLE EXEMPTION
FROM THE REGISTRATION REQUIREMENTS OF THE ACT, OR (II) PURSUANT TO AN
EFFECTIVE REGISTRATION STATEMENT UNDER THE ACT (IF ANY), IN EACH CASE
IN ACCORDANCE WITH ANY APPLICABLE SECURITIES LAWS OF THE UNITED
STATES OR ANY STATE THEREOF OR ANY OTHER RELEVANT JURISDICTIONS, (B)
THE PURCHASER OF THESE SECURITIES IS REQUIRED, AND EACH SUBSEQUENT
PURCHASER WILL BE REQUIRED, TO NOTIFY ANY PURCHASER OF THESE
SECURITIES OF THE RESALE RESTRICTIONS REFERRED TO IN (A) ABOVE, IF THEN
APPLICABLE, AND (C) IN THE CASE OF (A)(I) ABOVE, THE SECURITIES MAY NOT
BE OFFERED, SOLD, PLEDGED, HYPOTHECATED OR TRANSFERRED WITHOUT AN
OPINION OF COUNSEL SATISFACTORY TO THE TRUSTEE THAT SUCH OFFER,
SALE, PLEDGE, HYPOTHECATION, OR TRANSFER IS IN COMPLIANCE HEREWITH.

                                          ARTICLE IV

                          ADMINISTRATION OF TRUST ASSETS

        Section 4.1 Responsibilities of Trustee. The Trustee will exercise reasonable business
judgment in liquidating the Trust Assets and make timely distributions pursuant to the
Distribution Waterfall consistent with the duty to maximize the value of the Trust Assets.
        Section 4.2 Initial Valuation of Trust Assets. On or after the Effective Date, the
Reorganized Debtor may, at its sole expense, engage an independent valuation firm to conduct a
valuation of the Trust Assets (other than the proceeds of the Trust Financing) as of the Effective
Date. The Trustee shall cooperate in good faith with such independent valuation firm as it
conducts its valuation. If the Reorganized Debtor chooses not to engage an independent




                                                 13
Case 2:19-bk-24804-VZ         Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27                  Desc
                               Main Document    Page 19 of 54


valuation firm, as soon as practicable after the Effective Date, the Reorganized Debtor shall
make a good faith determination of the fair market value of the Trust Assets transferred to the
Trust as of the Effective Date. In either case, the Trustee shall apprise the Holders in writing of
the valuation, and this valuation shall be used consistently by all parties (including, without
limitation, the Debtor, the Reorganized Debtor, the Trustee and the Holders) for federal income
tax purposes.
       Section 4.3     Distributions; Disposition; Withholding

        Section 4.3.1 Distribution Waterfall. On each Trust Distribution Date and subject to the
satisfaction of requirements set forth in this Section 4.3, the Trustee shall distribute the
Distributable Proceeds in accordance with the Distribution Waterfall. A Trust Distribution Date
shall occur on: (i) sixty (60) days following the occurrence of a Distribution Event, and (ii) the
termination of the Trust; provided, however, that the Trustee shall retain amounts (a) reasonably
necessary to meet contingent liabilities and to maintain the value of the Trust Assets, (b) needed
to pay or reserve for anticipated amounts of reasonable administrative expenses (including any
taxes imposed on the Trust or in respect of the Trust Assets of the Trust), and (c) needed to
satisfy other liabilities incurred or assumed by the Trust (or to which the Trust Assets are
otherwise subject), all for the Term and in accordance with this Agreement. The Trustee may
delay or defer the distribution of any Distributable Proceeds (whether cash, securities, or other
property) received by the Trustee in respect of the Trust Assets to any of the Holders if the
Trustee determines, in its reasonable sole discretion, that such deferral or delay is in the best
interests of the Holders (including if such distribution would violate any court order or
Applicable Laws); provided that a Trust Distribution Date shall occur at least annually as long as
there are Distributable Proceeds.
        Section 4.3.2 Trust Distribution Affidavit. No later than seven (7) Business Days prior
to each Debt Claim Distribution Date, each Holder (not including the Reorganized Debtor) shall
provide a Trust Distribution Affidavit to the Trustee. On each Debt Claim Distribution Date, the
Trustee will, (i) allocate Trust Distributions to each Holder pursuant to the Distribution Waterfall
on account of such Holder’s Debt Claim Distribution Amount calculated in accordance with the
information provided in the Trust Distribution Affidavit and (ii) reserve distributions for such
Holders who have not submitted their Trust Distribution Affidavits prior to the applicable Debt
Claim Distribution Date, in the amount that they would have otherwise received, pursuant to the
Distribution Waterfall (assuming that the amount (or value with respect to Collateral) they
received from Other Distributions (i) is zero (if no Trust Distribution Affidavit has been
previously submitted by the Holder) or (ii) remains the same as reported in last Trust
Distribution Affidavit submitted by the Holder). If a Holder (not including the Reorganized
Debtor) (i) submits a Trust Distribution Affidavit that contains misstatements or omissions as
determined under Section 4.3.4 or (ii) fails to submit a Trust Distribution Affidavit prior to the
termination or dissolution of the Trust, such Holder shall be deemed to have forfeited its Trust
Interests and any reserved distributions shall revert to the Trust for the ratable benefit of Holders
(including the Reorganized Debtor) pursuant to the Distribution Waterfall.
        Section 4.3.3 Compliance Certificate. As a condition to receiving any Trust
Distributions, each Holder (but not including the Reorganized Debtor) must provide the Trustee
with the Compliance Certificate within ninety (90) days after the date the Holder’s Claim
becomes Allowed. If a Holder (i) submits a Compliance Certificate that contains misstatements
or omissions as determined under Section 4.3.4 or (ii) fails to timely submit a Compliance
Certificate (subject to the notice period set forth in Section 4.3.4), such Holder shall be deemed
to have forfeited its Trust Interests and any reserved distributions shall revert to the Trust for the
ratable benefit of Holders (including the Reorganized Debtor) pursuant to the Distribution
Waterfall.
       Section 4.3.4 Disputing Trust Distribution Affidavits and Compliance Certificates;



                                                 14
Case 2:19-bk-24804-VZ              Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27                                Desc
                                    Main Document    Page 20 of 54



Timeliness of Compliance Certificates.

               (a)     The Reorganized Debtor or the Trustee may dispute in good faith any
Trust Distribution Affidavit or Compliance Certificate by providing the Holder with ten (10)
days’ notice of such dispute that sets forth the alleged inaccuracies in the Trust Distribution
Affidavit or Compliance Certificate. If the Reorganized Debtor or the Trustee (as applicable) and
the Holder are unable to reach an agreement within thirty (30) days, either party may seek
arbitration under the Plan Arbitration Procedures, which may result in the forfeiture of the
Holder’s Trust Interests if the Trust Distribution Affidavit or Compliance Certificate is
determined to include material misstatements or omissions.

                 (b)    The Reorganized Debtor or the Trustee may dispute the failure of a Holder
to timely file a Compliance Certificate by providing such Holder with ten (10) days’ notice of
forfeiture of the Holder’s Trust Interests for failure to timely submit a Compliance Certificate;
provided that such Holder may seek arbitration under the Plan Arbitration Procedures that their
neglect to timely file a Compliance Certificate was excusable under the standards of the
Bankruptcy Code.

               (c)     For the avoidance of doubt, once Trust Interests of a Holder are forfeited
pursuant to Section 4.3.2 and Section 4.3.3, such Holder shall no longer be deemed as a Holder
under this Agreement and no further Trust Distributions shall be distributed to such Holder.

        Section 4.3.5 Limitations on Disposition of Trust FF Intelligent Shares. The Trustee
shall not Transfer or distribute the Trust FF Intelligent Shares prior to the earlier of (a) the IPO,
without the consent of FF Top,5 (b) a Liquidation Event, and (c) expiration of the Term. The
post-IPO disposition of any Trust FF Intelligent Shares directly owned by the Trust that are
Marketable Securities shall be governed in accordance with Schedule C attached hereto. At any
time upon the request of the managing member of Pacific Technology, and subject to applicable
securities law, the Trustee shall distribute the Marketable Securities in kind in lieu of any cash
distribution to the Holders, who shall be subject to the same selling restrictions set forth in
Schedule C. The value of the Marketable Securities shall be the average closing trading price for
the five consecutive trading days immediately prior to the distribution.6
        Section 4.3.6 Limitations on Disposition of the Call Option. The Trustee shall obtain
the consent of FF Global prior to any exercise or transfer of the Call Option by the Trust. Upon
request by FF Global, the Trustee shall directly transfer, or transfer the underlying economic
rights of, the Call Option (including by exercising the Call Option and thereafter conveying the
related shares in FF Intelligent to the applicable counterparty) as requested by FF Global in
connection with a bona fide unrelated third-party financing of FF Intelligent and its subsidiaries,
as follows: (i) 50% of the Call Option (based on the underlying shares of FF Intelligent or the
related economic value of such shares) to the counterparty of a bona fide unrelated third-party
financing providing FF Intelligent and its subsidiaries with not less than $100 million of net
proceeds (i.e., net of any commissions charged by financial advisors), (ii) 100% of the Call
Option (based on the underlying shares of FF Intelligent or the related economic value of such
shares) to the counterparty of a bona fide unrelated third-party financing providing FF Intelligent
and its subsidiaries with not less than $250 million of net proceeds (i.e., net of any commissions


5
 [NTD: to be consistent with rights of Class B ordinary shareholders.]
6
 [NTD: certain Trust Assets may also be subject to certain restrictions on disposition set forth in the [Fourth]
Amended and Restated Limited Liability Company Agreement of Pacific Technology.]




                                                          15
Case 2:19-bk-24804-VZ            Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27                          Desc
                                  Main Document    Page 21 of 54


charged by financial advisors), or (iii) a ratable percentage of the Call Option (based on the
underlying shares of FF Intelligent or the related economic value of such shares) to the
counterparty of a bona fide unrelated third-party financing providing FF Intelligent and its
subsidiaries with net proceeds (i.e., net of any commissions charged by financial advisors)
greater than $100 million and less than $250 million (i.e., an additional 1% of the Call Option for
each additional $3 million of net proceeds beyond $100 million) ((i), (ii), or (iii), a “Qualifying
Financing”), provided that FF Global may request that the Trustee transfer the Call Option for a
financing of FF Intelligent and its subsidiaries other than a Qualifying Financing subject to the
consent of Trustee and approval by a majority of the Creditor Trust Committee in their
respective business judgment. For the avoidance of doubt, any consideration paid, if any, in
exchange for the transfer of the Call Option either as part of a separate transaction providing for
such transfer or attributable to the transfer of the Call Option in a financing transaction, whether
in conjunction with a Qualifying Financing or otherwise, shall be paid directly to the Trust and
shall constitute Trust Assets.
        Section 4.4 Separation of Interests. After the Trustee makes Trust Distributions
sufficient to satisfy subsection (iv) of the fifth priority of the Distribution Waterfall, 95% of the
remaining Trust Assets that constitute Marketable Securities shall be distributed in kind to the
Reorganized Debtor or otherwise at his direction and this Trust Agreement shall be automatically
amended to eliminate any duties of the Reorganized Debtor.7
        Section 4.5 Books and Records. The Trustee shall maintain in respect of the Trust and
the Holders books and records relating to the Trust Assets and income of the Trust and the
payment of expenses of, and liabilities of claims against or assumed by, the Trust in such detail
and for such period of time as may be necessary to enable it to make full and proper accounting
in respect thereof. Such books and records shall be maintained on a cash or other comprehensive
basis of accounting necessary to facilitate compliance with the tax reporting requirements of the
Trust. Nothing in this Agreement requires the Trustee to file any accounting or seek approval of
any court with respect to the administration of the Trust, or as a condition for managing any
payment or distribution out of the Trust Assets. The Holders shall have the right, upon thirty
(30) days’ prior written notice delivered to the Trustee, to inspect such books and records
(including financial statements, if any), provided that, if so requested, such Holder shall have
entered into a confidentiality agreement satisfactory in form and substance to the Trustee, and
provided further that no Holder may inspect any privileged document.
        Section 4.6 Investment and Safekeeping of Trust Assets. Subject to Section 5.2(d),
cash held pending distribution may, to the extent permitted by Applicable Law, be invested by
the Trustee in (a) direct obligations of, or obligations guaranteed by, the United States of
America (including, without limitation, United States Treasury Bills); (b) obligations of any
agency or corporation that is or may hereafter be created by or pursuant to an Act of the
Congress of the United States as an agency or instrumentality thereof; or (c) demand deposits or
short-term certificates of deposit at any bank or trust company that has, at the time of acquisition
by the Trustee of such investments, capital stock, and surplus aggregating at least $100 million
and whose short-term debt obligations are rated by at least two nationally recognized statistical
rating organizations in one of the two highest categories therefor. Such investments shall mature
in such amounts and at such times as, in the judgment of the Trustee at the times such
investments are made, as are necessary, or as are desirable with a view to providing funds when
needed to make payments from the Trust Assets.
        Section 4.7 Payment of Claims, Expenses and Liabilities. Subject to Section 5.2, the
Trustee shall pay from the Trust Assets all claims, expenses, charges, liability, and obligations of
the Trust and all liabilities and obligations that the Trustee specifically assumes and agrees to

7
 [NTD: mechanism to be developed for the allocation of non-Marketable Securities and other assets reaming in the
Trust.]




                                                       16
Case 2:19-bk-24804-VZ          Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27                   Desc
                                Main Document    Page 22 of 54


pay pursuant to this Agreement, including among the foregoing, and without limiting the
generality of the foregoing, interest, penalties, taxes, assessments, and public charges of every
kind and nature and the costs, charges, and expenses connected with or incurred as a result of the
execution or administration of this Trust and such other payments and disbursements as are
provided in this Agreement or that may be determined to be a proper charge against the Trust
Assets by the Trustee. The Trustee shall reserve such amounts out of the proceeds of the Trust
Financing or other Trust Assets as shall be necessary to protect against any potential tax claims
or liabilities; provided, however, the Trustee shall not retain cash in excess of a reasonable
amount necessary to meet or protect against such claims, expenses, and liabilities.
        Section 4.8 The Undetermined Claim Holding Beneficiary.
                 (a)    This Agreement is intended to establish a separate trust
(the “Undetermined Claim Holding Beneficiary”) to serve as a beneficiary on behalf of Debt
Claims that are Allowed after the Effective Date. The Trustee shall act as trustee of the
Undetermined Claim Holding Beneficiary and shall have the authority to take any reasonably
necessary actions consistent with this Section 4.8 as necessary, including, but not limited to,
(y) memorializing a separate trust agreement in respect of the Undetermined Claim Holding
Beneficiary consistent with the Plan and this Agreement and with substantially similar
governance terms as this Agreement, and (z) performing tax reporting and satisfying tax
obligations, if any, in a manner consistent with Section 9.3(b) of this Agreement. The
Undetermined Claim Holding Beneficiary shall have no purpose other than to hold beneficial
interests in the Trust for the potential benefit of Debt Claims that may be Allowed after the
Effective Date until such Debt Claims have been finally resolved. For the avoidance of doubt,
nothing in Section 3.1 or this Section 4.8(a) shall affect the priorities of distributions that are to
be made to under the Distribution Waterfall.

                (b)     Upon the allowance or disallowance of a Debt Claim after the Effective
Date, the respective Trust Interests of all holders of Allowed Debt Claims and the Undetermined
Claim Holding Beneficiary shall be automatically and without further action by any party be re-
determined in accordance with the formulas in Section 3.1 as of the date of (and to give effect to)
such allowance or disallowance. Following such adjustment, each holder of an Allowed Debt
Claim shall be deemed to have a Trust Interest entitling it to the share of distributions to which it
is then entitled under the Distribution Waterfall.

                (c)    In order for a Late Filed Debt Claim to be Allowed, the Reorganized
Debtor must request the allowance of such Late Filed Debt Claim and the Reorganized Debtor
and the Trustee shall make commercially reasonable efforts to agree that allowance of such Late
Filed Debt Claim in a particular amount is in the best interests of the Reorganized Debtor and the
Trust. If the Reorganized Debtor and the Trustee do not agree to the allowance or amount of any
Late Filed Debt Claim, the dispute shall be resolved pursuant to the Plan Arbitration Procedures.
In seeking the allowance of any Late Filed Debt Claim, the Reorganized Debtor shall bear the
burden of demonstrating that allowance of such Late Filed Debt Claim is in the best interests of
the Reorganized Debtor and the Trust. Notwithstanding the foregoing, the maximum aggregate
amount of Late Filed Debt Claims that may be Allowed under the Plan shall not exceed 10% of
the total amount of Allowed Debt Claims at the time of allowance of the Late Filed Debt Claim.

        Section 4.9 Compliance with Article 11.4(c) of the Plan. In accordance with Article
11.4(c) of the Plan, within ninety (90) days after the (a) applicable Liability Release Date with




                                                  17
Case 2:19-bk-24804-VZ        Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27                 Desc
                              Main Document    Page 23 of 54



respect to Allowed Debt Claims (including Allowed China Secured Claims treated as Allowed
Debt Claims pursuant to Article 4.3 of the Plan), (b) the date of satisfaction in full of an Allowed
China Secured Claim and, if applicable, the occurrence of the Liability Release Date with respect
to any Deficiency Claim on account of such Allowed China Secured Claim, or (c) the date of
allowance of a Late Filed Debt Claim, each holder of an Allowed Debt Claim, Allowed China
Secured Claim, or Allowed Late Filed Debt Claim shall (as a condition to receiving further Trust
Distributions, including any Trust Distributions upon the termination or dissolution of the Trust)
(i) withdraw or retract any litigations, enforcement actions, arbitrations, and any other
proceedings against the Debtor from the courts and judicial authorities in all jurisdictions,
including, but not limited to, the Chinese Courts, or confirm with the judicial authorities that the
Reorganized Debtor has settled all of his debt obligations or legal responsibilities to such holder
and (y) file and execute any documents requested by the Reorganized Debtor to evidence the
above release. The Reorganized Debtor reserves all rights to seek enforcement by the Chinese
Courts of the rights provided in Article 11.4(c) of the Plan.

       Section 4.10 Compliance with Laws. Any and all distributions of Trust Assets and
proceeds of borrowings, if any, shall be in compliance with Applicable Laws.
                                           ARTICLE V

                                 AUTHORITY OF TRUSTEE

        Section 5.1 Authority of Trustee. Subject to Section 5.2 and other restrictions or
limitations set forth in this Agreement, in connection with the administration of the Trust, the
Trustee is authorized to perform any and all acts necessary or desirable to accomplish the
purposes of the Trust, including but not limited to:
               (a)      to make distributions to the Holders as required under the terms of the
Plan and this Agreement in an expeditious but orderly manner in accordance with the terms of
the Plan, Confirmation Order, this Agreement and Treasury Regulation 301.7701-4(d) with no
objective to conduct a trade or business except to the extent reasonably necessary to, and
consistent with, the liquidating purpose of the Trust;

               (b)     to incur any reasonable and necessary expenses in liquidating the Trust
Assets;

                (c)    to exercise (and to determine whether it is in the Trust’s best interest
whether to exercise) the Warrant to transfer the Trust FF Intelligent Shares to the Trust upon
dissolution of the Injunctions;

              (d)      to commence Bankruptcy Actions prior to the Bankruptcy Actions
Limitations Period in accordance with, and pursuant to, the limitations set forth in Article 11.9 of
the Plan;

               (e)     to control and exercise authority over the Trust Assets and over the
protection, conservation and disposition thereof, subject to any limitations set forth elsewhere in
this Agreement;




                                                18
Case 2:19-bk-24804-VZ        Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27                    Desc
                              Main Document    Page 24 of 54



               (f)     to otherwise perform the functions and take the actions provided for or
permitted by this Agreement and the Plan and in any other agreement executed by the Trustee on
behalf of the Trust pursuant to the Plan; and

               (g)     to hold the Trust Interests on behalf of the Holder if such Holder requests
so pursuant to Section 3.1(b).

        Section 5.2 Limitations to Trustee’s Authority. Notwithstanding anything herein to the
contrary, the Trustee shall not engage in any trade or business except to the extent reasonably
necessary to, and consistent with, the liquidating purpose of the Trust, and shall not commingle
any of the Trust Assets with its own property or the property of any other person. The Trustee
shall not take any of the following actions without the prior approval of the Creditor Trust
Committee:
               (a)    incur expenses on behalf of the Trust in excess of US$50,000; provided,
however, that such approval shall be deemed granted if not specifically denied within ten (10)
Business Days after a written request from the Trustee;

               (b)    retain and pay professionals, including legal counsel, independent
accounting firms, valuation firms, or third parties to assist with the administration of the Trust
Assets; provided, however, that such approval shall be deemed granted if not specifically denied
within ten (10) Business Days after a written request from the Trustee;

               (c)     sell or transfer any Trust Assets except as otherwise set forth in this
Agreement;

               (d)    invest any moneys held by the Trust other than pursuant to Section 4.6;
provided, however, that such approval shall be deemed granted if not specifically denied within
ten (10) Business Days after a written request from the Trustee;

               (e)     settle or compromise any litigation claim that constitutes a Trust Asset in
excess of US$5 million; provided, however, that such approval shall be deemed granted if not
specifically denied within ten (10) Business Days after a written request from the Trustee;

             (f)    take any action that would result in the Trust becoming an “investment
company” within the meaning of the Investment Company Act of 1940, as amended;

               (g)     amend this Agreement in any manner that is adverse to the Beneficiaries;

                 (h)     initiate a Bankruptcy Action under section 548 of the Bankruptcy Code (in
accordance with, and subject to, the limitations set forth in Article 11.9 of the Plan), which
initiation shall require an affirmative vote of four members of the Creditor Trust Committee;

                 (i)     initiate a Bankruptcy Action under section 542 of the Bankruptcy Code (in
accordance with, and subject to, the limitations set forth in Article 11.9 of the Plan), which
initiation shall require an affirmative vote of at least three members of the Creditor Trust
Committee; or




                                                 19
Case 2:19-bk-24804-VZ                Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27          Desc
                                      Main Document    Page 25 of 54



                (j)     upon request of the FF Global, transfer the Call Option for a financing of
FF Intelligent and its subsidiaries other than a Qualifying Financing pursuant to Section 4.3.5.

        Section 5.3 Special Information Rights of the Trustee. The Reorganized Debtor shall
use commercially reasonable efforts to provide the Trustee with the following information on a
confidential, professional eyes only basis, to the extent such information has been prepared by
FF Intelligent or FF for reporting to their financing sources or shareholders. The Trustee may
share such information on a confidential and aggregated basis with the Creditor Trust
Committee.
               (a)     within ninety (90) days after the end of each calendar year, audited
consolidated financial statements of FF Intelligent or such other future public listing vehicle for
the global subsidiaries of FF Intelligent;

               (b)     within forty-five (45) days after the end of each of the first three quarters
in each year of FF Intelligent, a consolidated balance sheet of FF Intelligent and its subsidiaries,
together with related consolidated statement of operations and retained earnings, consolidated
statement of stockholders’ equity, and consolidated statement of cash flows for such fiscal
quarter;

                (c)    not more than ninety (90) days after the beginning of each fiscal year of
FF Intelligent, an annual business plan and budget of FF Intelligent and its subsidiaries; and

                 (d)    such other regular financial reporting, if any, prepared by FF Intelligent
for its lenders and shareholders.

                                                       ARTICLE VI

                                                  THE TRUSTEE

           Section 6.1       Number and Qualifications. There is one Trustee of the Trust.8
        Section 6.2 Performance Review. The Reorganized Debtor and the Creditor Trust
Committee will conduct an annual performance review of the Trustee to determine whether the
Trustee has complied with his or her (a) fiduciary duties pursuant to this Agreement and (b) duty
to maximize the value of the Trust Assets, including the Trust’s interests in FF Intelligent. If the
Reorganized Debtor determines in good faith that the Trustee has failed in his or her duty to
maximize value of the Trust Assets because the Trustee’s actions have adversely affected the
business, financial condition, or prospects of FF Intelligent, the Reorganized Debtor shall have
the right to request that the Creditor Trustee Committee remove the Trustee pursuant to Section
7.2, which consent by the Creditor Trustee Committee shall not be unreasonably withheld or
delayed. If there is a dispute between the Reorganized Debtor and the Creditor Trustee
Committee regarding the removal of the Trustee pursuant to this Section 6.2, either party may
request that the dispute be resolved pursuant to Plan Arbitration Procedures.

       Section 6.3 Standard of Care; Indemnification, Exculpation. The Trustee, acting in
the capacity as the Trustee or in any other capacity contemplated by this Agreement, shall act as


8
    [NTD: additional qualifications to be included.]




                                                           20
Case 2:19-bk-24804-VZ              Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27            Desc
                                    Main Document    Page 26 of 54


a fiduciary and shall not be personally liable in connection with the affairs of the Trust or to any
person except for such of the Trustee’s acts or omissions that constitute fraud, willful
misconduct, or gross negligence as determined by a final order of a court of competent
jurisdiction. The Trustee shall not be personally liable to the Trust or to any person for the acts
or omissions of any employee or agent of the Trust unless the Trustee acted with fraud, gross
negligence, or willful misconduct as determined by a final order of a court of competent
jurisdiction, in the selection, retention, or supervision of such employee or agent of the Trust.
Except in those situations in which the Trustee is not exonerated of personal liability as provided
above, the Trustee (including any successor trustee) shall be indemnified by the Trust against
and held harmless by the Trust from any losses, claims, damages, liabilities, or expenses
(including, without limitation, attorneys’ fees, disbursements, and related expenses) to which the
Trustee may become subject in connection with any action, suit, proceeding, or investigation
brought or threatened against the Trustee in connection with any matter arising out of or related
to this Agreement or the affairs of the Trust. If the Trustee becomes involved in any action,
proceeding, or investigation in connection with any matter arising out of or in connection with
this Agreement or the affairs of the Trust, the Trust shall periodically advance or otherwise
reimburse on demand the Trustee’s reasonable legal and other expenses (including, without
limitation, the cost of any investigation, and attorneys’ fees, disbursements, and related
expenses) incurred in connection therewith, but the Trustee shall be required to repay promptly
to the Trust the amount of any such advances or reimbursed expenses paid to the Trustee to the
extent that it shall be ultimately determined that the Trustee engaged in fraud, willful
misconduct, or gross negligence in connection with the affairs of the Trust with respect to which
such expenses were paid. The Trustee may obtain customary fiduciary and/or errors and
omissions liability insurance. The Trust may indemnify and hold harmless the employees and
agents of the Trust to the same extent as provided in this Section 6.3 for the Trustee. The
provisions of this Section 6.3 shall remain available to and be binding on any former Trustee or
the estate of any deceased Trustee, and to any successor Trustee.
        Section 6.4 Reliance by Trustee. The Trustee may rely, and shall be fully protected in
acting or refraining from acting, on any resolution, statement, certificate, instrument, opinion,
report, notice, request, consent, order, or other instrument or document that the Trustee
reasonably believes to be genuine and to have been signed or presented by the proper party or
parties or, in the case of facsimiles or emails, to have been sent by the proper party or parties,
and the Trustee may reasonably rely as to the truth of the statements and correctness of the
opinions expressed therein. The Trustee may consult with counsel, and any opinion of counsel
shall be full and complete authorization and protection in respect to any action taken or suffered
by the Trustee in accordance therewith. The Trustee is entitled to engage independent legal
counsel and financial advisors to assist with its evaluation of any matters with respect to the
Trust, including any Liquidation Event, subject to Section 5.2.
        Section 6.5 Reliance by Persons Dealing With the Trust. In the absence of actual
knowledge to the contrary, any person dealing with the Trust shall be entitled to rely on the
authority of the Trustee to act in connection with the acquisition, management, or disposition of
Trust Assets and shall have no obligation to inquire into the existence of such authority.
        Section 6.6 Expense Reimbursement and Compensation. As compensation for the
performance of all services in connection with its role as Trustee hereunder, the Trustee shall be
paid [●].9
        Section 6.7 Confidentiality. The Trustee shall, while serving as Trustee under this
Agreement and for a period of twelve (12) months following the termination of this Agreement
or following the earlier of its removal or resignation hereunder, hold strictly confidential and not


9
    [NTD: Trustee compensation to be included.]




                                                  21
Case 2:19-bk-24804-VZ         Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27                  Desc
                               Main Document    Page 27 of 54


use for personal gain any material, non-public information of or pertaining to any entity to which
any of the Trust Assets relates or of which it has become aware in its capacity as Trustee.
                                          ARTICLE VII

                                    SUCCESSOR TRUSTEE

         Section 7.1 Resignation. The Trustee may resign by giving not less than sixty (60)
days’ prior written notice of the proposed effective date of resignation to the Creditor Trust
Committee, with such resignation to take effect only when a successor Trustee has been
appointed. If the Trustee resigns, the Creditor Trust Committee shall be authorized to appoint a
successor Trustee who satisfies the qualifications set forth in Section 6.1 and is subject to
approval by the Reorganized Debtor (which approval shall not be unreasonably withheld). The
Trustee shall continue to serve as the Trustee after notice of resignation until a successor Trustee
has been appointed. Nothing in this Section 7.1 shall restrict the right of removal of the Trustee
as provided in Section 7.2.
         Section 7.2 Removal. The Trustee may be removed by the Creditor Trust Committee
at any time for Cause, and the Trustee shall be removed by the Creditor Trust Committee, if the
Reorganized Debtor determines that the Trustee has failed in his or her duty to maximize value
of the Trust Assets because the Trustee’s actions have adversely affected the business, financial
condition, or prospects of FF Intelligent pursuant to Section 6.2. If the Trustee is removed
pursuant to this Section 7.2, the Creditor Trust Committee shall appoint a successor Trustee who
satisfies the qualifications set forth in Section 6.1 by majority vote of the Creditor Trust
Committee, subject to the approval of the Reorganized Debtor (which approval shall not be
unreasonably withheld). The removal shall be effective immediately upon written notice to the
Trustee. For the purpose of this Section 7.2, the term “Cause” means (a) any act or omission
that constitutes fraud, willful misconduct, or gross negligence in connection with the affairs of
the Trust, (b) such physical or mental disability that substantially prevents the Trustee from
performing his or her duties as Trustee hereunder, (c) any breach of fiduciary duty by, or
unresolved conflict of interest involving, the Trustee or any affiliate thereof, or (d) the Trustee’s
failure of its annual performance review under Section 6.2. If a successor Trustee is not
appointed or does not accept its appointment pursuant to Section 7.2 or Section 7.3 within
seventy-five (75) days following such action for removal of the predecessor Trustee, any Holder
(including the Reorganized Debtor) may petition any court of competent jurisdiction for the
appointment of a successor Trustee.
         Section 7.3 Acceptance of Appointment by Successor Trustee. Any successor Trustee
appointed hereunder shall execute an instrument accepting such appointment hereunder, and
shall file such acceptance with the Trust records. Such successor Trustee shall, without any
further act, become vested with all the estates, properties, rights, powers, trusts, and duties of its
predecessor in the Trust with like effect as if originally named herein; provided, however, that a
removed or resigning Trustee shall, nevertheless, when requested in writing by the successor
Trustee, execute and deliver an instrument or instruments required to convey and transfer to such
successor Trustee under the Trust all the estates, properties, rights, powers, and trusts of such
predecessor Trustee.
         Section 7.4 Continuance of Trust. The death, resignation, or removal of the Trustee
shall not operate to terminate the Trust created by this Agreement or revoke any existing agency
(other than the agency of the former Trustee as Trustee) created pursuant to this Agreement or
invalidate any action taken by the Trustee. The Trustee agrees that the provisions of this
Agreement shall be binding upon and inure to the benefit of the Trustee and the Trustee’s heirs,
legal and personal representatives, and successors or assigns, as the case may be. In the event of
the resignation or removal of the Trustee, the Trustee shall promptly (a) execute and deliver by
the effective date of resignation or removal such documents, instruments, and other writings as



                                                 22
Case 2:19-bk-24804-VZ               Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27              Desc
                                     Main Document    Page 28 of 54


may be reasonably requested by the successor Trustee to effect the termination of the resigning
or removed Trustee’s capacity under this Agreement and the conveyance of the Trust Assets then
held by the resigning or removed Trustee to the successor Trustee; (b) deliver to the successor
Trustee all documents, instruments, records, and other writings relating to the Trust as may be in
the possession or under the control of the resigning or removed Trustee; and (c) otherwise assist
and cooperate in effecting the assumption of the resigning or removed Trustee’s obligations and
functions by the successor Trustee. The resigning or removed Trustee hereby irrevocably
appoints the successor Trustee as his or her attorney-in-fact and agent with full power of
substitution for and in his or her name, place and stead to do any and all such acts that such
resigning or removed Trustee is obligated to perform under this Section 7.4. Such appointment
shall not be affected by the subsequent disability or incompetence of the Trustee making such
appointment.
                                                 ARTICLE VIII

                                    CREDITOR TRUST COMMITTEE

         Section 8.1 Composition and Qualification. The Creditor Trust Committee shall
consist of no more than five holders of Allowed Debt Claims or their designees (each,
a “Committee Member”). The initial Committee Members shall be [●], [●], [●], [●], and [●]. If
a Committee Member resigns or is removed by the Trustee for Cause, the Trustee may appoint a
holder of an Allowed Debt Claim (or its designee) who is not currently a Committee Member, as
a replacement Committee Member.10 For the purpose of this Section 8.1, “Cause” means (a) any
act or omission determined by the Trustee to constitute fraud, willful misconduct, or gross
negligence in connection with a Committee Member’s performance of his or her duties as a
Committee Member, (b) such physical or mental disability that substantially prevents the
Committee Member from performing his or her duties as Committee Member hereunder, or
(c) any breach of fiduciary duty by the Committee Member.
         Section 8.2 Fiduciary Duties. The Committee Members, when taking any action in
their capacity as such, shall serve as fiduciaries to the Beneficiaries and not act in their individual
interests.
         Section 8.3 Action of the Committee. The Creditor Trust Committee shall act by the
vote of a majority (over 50%) of the members thereof, unless otherwise provided herein.
         Section 8.4 Expenses and Advisors. The Committee Members shall not be
compensated for serving as a Committee Member, but shall be reimbursed for all reasonable out-
of-pocket expenses incurred in connection with their service on the Creditor Trust Committee,
other than the fees and expenses of counsel to individual Committee Members. The Creditor
Trust Committee, upon the unanimous approval of the Committee Members, may employ
advisors for reasonable specified purposes unanticipated to be within the scope or responsibility
of the Trustee but necessary for the fulfillment of the Creditor Trust Committee’s duties, and the
Trustee will pay the fees and expenses of any such advisors retained by the Creditor Trust
Committee.
         Section 8.5 Information Rights of the Creditor Trust Committee. The Trustee shall
cause to be prepared and distributed to the Creditor Trust Committee, who may further distribute
to the Holders, within forty-five (45) days after the end of each calendar quarter and within
ninety (90) days after the end of each calendar year (a) a statement of net assets of the Trust,
(b) a statement of changes in net assets of the Trust, (c) a statement of cash flows of the Trust,
(d) a schedule summarized by type of investments and assets, indicating acquisitions and


10
     [NTD: additional qualifications for the replacement of a Committee Member to be provided.]




                                                         23
Case 2:19-bk-24804-VZ         Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27                 Desc
                               Main Document    Page 29 of 54


dispositions, and (e) a summary listing of the status of the resolution of claims involving the
Trust or any of the Trust Assets, if any.
        Section 8.6 Dissolution of the Creditor Trust Committee. When each holder of an
Allowed Debt Claim has received Trust Distributions exceeding their respective Debt Claim
Distribution Amounts plus an amount equal to their Pro Rata Share of $500,000,000, the
Creditor Trust Committee shall be automatically dissolved. Upon dissolution of the Creditor
Trust Committee, the following authority and functions of the Creditor Trust Committee shall
automatically be assumed by the Reorganized Debtor: (i) the authority to receive a resignation
notice of Trustee, remove the Trustee, and appoint a successor Trustee under Section 7.1 and
Section 7.2, (ii) the approval right, in that approval by the Creditor Trust Committee throughout
this Agreement shall be read as approval by the Reorganized Debtor, including approval required
under Section 4.3.6, Section 4.6, Section 5.2, Section 10.3, and Section 11.1, and (iii) the
information rights enjoyed by the Creditor Trust Committee shall be enjoyed by the Reorganized
Debtor.
                                           ARTICLE IX

            REPORTING; REPORTS TO HOLDERS OF TRUST INTERESTS

        Section 9.1 Securities Laws. If the Trustee determines, with the advice of counsel,
that the Trust is required to comply with the registration and reporting requirements of the
Securities Exchange Act of 1934, as amended, or the Investment Company Act of 1940, as
amended, then the Trustee shall take any and all actions to comply with such reporting
requirements and file periodic reports with the SEC.
        Section 9.2 Treatment of Transfer of Trust Assets; Liquidating Trust Interests. As
provided in the Plan, the Trust Assets will be treated by all parties (including, without limitation,
the Debtor, the Reorganized Debtor, the Trustee, and the Beneficiaries) for U.S. federal income
tax purposes as being transferred by the Debtor to the Beneficiaries and the Undetermined Claim
Holding Beneficiary with each receiving an undivided interest therein in proportion to
(i) Beneficiaries other than the Reorganized Debtor based on their Debt Claim Allocation
Amount in relation to the Aggregate Asserted Debt Claim Amount and (ii) the Undetermined
Claim Holding Beneficiary in an amount to be determined based on the (y) the Aggregate
Asserted Debt Claim Amount minus the aggregate Debt Claim Allocation Amounts of all
Allowed Debt Claims as of the Effective Date, in relation to (z) the Aggregate Asserted Debt
Claim Amount (adjusted as appropriate to take into account Claims described in clause (c) of the
Distribution Waterfall), as determined by the Trustee, and then by such Beneficiaries and the
Undetermined Claim Holding Beneficiary to the Trust in exchange for the Trust Interests for the
benefit of such Beneficiaries in accordance with the Plan.
        Section 9.3 Tax Reporting.
                 (a)    Promptly following the end of each calendar year, the Trustee shall submit
to the Reorganized Debtor and, each Holder appearing on the Register during such year a
separate statement setting forth such person’s items of income, gain, loss, deduction, or credit
attributable to the Trust. The Trustee shall also submit to each Holder appearing on the Register
during such year a separate statement setting forth the amounts and dates of each distribution
made to such Holder from the Trust during such year. Allocations of taxable income of the Trust
shall be determined by reference to the manner in which an amount of cash equal to such taxable
income would be distributed (without regard to any restrictions on distributions described herein)
if, immediately prior to such deemed distribution, the Trust had distributed all of its other assets
(valued for this purpose at their tax book value) to the holders of Trust Interests, taking into
account all prior and concurrent distributions from the Trust. Similarly, taxable losses of the



                                                 24
Case 2:19-bk-24804-VZ         Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27                 Desc
                               Main Document    Page 30 of 54



Trust shall be allocated by reference to the manner in which an economic loss would be borne
immediately after a liquidating distribution of the remaining Trust Assets. For this purpose, the
tax book value of the Trust Assets shall equal their fair market value on the Effective Date or, if
later, the date such assets were acquired by the Trust, adjusted in either case in accordance with
tax accounting principles prescribed by the IRC, the Treasury Regulations and other applicable
administrative and judicial authorities and pronouncements.

               (b)      Federal Income Tax. Subject to definitive guidance from the Internal
Revenue Service or a court of competent jurisdiction to the contrary (including the receipt by the
Trustee of a private letter ruling if the Trustee so requests one, or the receipt of an adverse
determination by the Internal Revenue Service upon audit if not contested by the Trustee),

              (i)    the Trustee shall file returns for the Trust as a grantor trust for U.S. federal
income tax purposes pursuant to Treasury Regulations Section 1.671-4(a) or as a partnership, as
reasonably determined by the Reorganized Debtor and the Trustee with the advice of competent
tax counsel.

                (ii)    the Trustee shall (i) treat the Undetermined Claim Holding Beneficiary as
a non-grantor trust in accordance with the trust provisions of the IRC (sections 641 et seq.) or
such other entity deemed appropriate by the Trustee in its sole discretion, (ii) file all applicable
tax and information returns and, if applicable, timely pay, from the applicable Trust assets on a
current basis, all taxes on any income or gain of the Undetermined Claim Holding Beneficiary
that may become due consistently with such treatment, and (iii) to the extent permitted by
applicable law, report consistently for federal, state and local income tax purposes.

        Section 9.4 Other Reporting. The Trustee shall file (or cause to be filed) any other
statements, returns, or disclosures relating to the Trust that are required by any governmental
authority.
                                           ARTICLE X

                       DURATION AND TERMINATION OF TRUST

        Section 10.1 Term of Trust. Unless otherwise provided herein, the Trust will terminate
five (5) years after the Effective Date (such five-year term, the “Initial Term”), unless otherwise
extended pursuant to Section 10.2, but in no event shall the Term be extended beyond the tenth
anniversary of the Effective Date unless the Chapter 11 Case with respect to the Debtor is
reopened to obtain a court order extending the Term.
        Section 10.2 Extension of the Initial Term.
               (a)      If an IPO occurs during the Initial Term, the Term shall be automatically
extended through the conclusion of the period on restriction of disposition for the Trust FF
Intelligent Shares as set forth on Schedule C attached hereto.

               (b)    If an IPO has not occurred during the Initial Term, the Trustee may elect
to extend the Term for successive one-year periods (or such other periods as the Trustee
determines to be appropriate) to the extent necessary to allow for the orderly liquidation of any
remaining Trust Assets.




                                                 25
Case 2:19-bk-24804-VZ         Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27                 Desc
                               Main Document    Page 31 of 54


        Section 10.3 Obligations of the Trustee upon Termination. Upon termination of the
Trust, the Trustee shall obtain a valuation of the Trust Assets as of the termination date
(performed by an independent valuation firm selected by the Trustee and approved by the
Creditor Trust Committee, if applicable, and the Reorganized Debtor) and shall, as promptly as
practicable following the completion of the independent valuation, distribute the Trust Assets in
kind to the Holders (including Reorganized Debtor) in accordance with the Distribution
Waterfall.
        Section 10.4 Dissolution of Trust. The Trustee shall dissolve and wind up the Trust and
distribute the Trust Assets upon the expiration of (a) the Initial Term, if no extension (automatic
or otherwise) is exercised or (b) the expiration of any extended term of the Trust. The Trustee
may dissolve the Trust before the end of the Initial Term or any extended Term if: (a) all of the
Trust Assets have been distributed in accordance with the Distribution Waterfall, including any
distributions to the Reorganized Debtor or (b) a Liquidation Event has occurred.

        Section 10.5 Conditional on Confirmation Order. If the discharge of claims against the
Debtor under the Plan and the Confirmation Order is revoked for any reason, all Trust Interests
shall be revoked and Trust Distributions made shall be deemed invalid and be restored. Trustee
shall immediately transfer, assign and deliver all right, title and interest in the remaining portion
of the Trust Assets free and clear of any lien, claim or interest in such property to Debtor, and to
execute, acknowledge, and deliver such instruments and do such further acts as may be necessary
or proper to transfer to the Debtor any portion of the Trust Assets so to restore the Debtor and all
Holders to the status quo ante as of the day immediately preceding entry of the Confirmation
Order. This Trust shall be immediately terminated with no further effect.
                                          ARTICLE XI

                              MISCELLANEOUS PROVISIONS

        Section 11.1 Amendment. This Agreement may only be amended with the approval of
the Creditor Trust Committee, the Trustee, and the Reorganized Debtor; provided that technical
amendments to this Agreement may be made, as necessary, to clarify this Agreement or enable
the Trustee to effectuate the terms of this Agreement, by the Trustee without the approval of the
Reorganized Debtor. Notwithstanding this Section 11.1, any amendments to this Agreement
shall not be inconsistent with the purpose and intention of the Trust or the Plan.
        Section 11.2 Intention of Parties to Establish Trust. This Agreement is intended to
create a trust for federal income tax purposes and, to the extent provided by law, shall be
governed and construed in all respects as such a trust and any ambiguity herein shall be
construed consistent herewith and, if necessary, this Agreement may be amended to comply with
such federal income tax laws, which amendments may apply retroactively.
        Section 11.3 Laws as to Construction. This Agreement shall be governed and
construed in accordance with the laws of the State of Delaware, without giving effect to rules
governing the conflict of law.
        Section 11.4 Dispute Resolution. Any suit, action, or other claims arising out of or
based upon this Agreement shall be submitted to arbitration pursuant to the Plan Arbitration
Procedures. For the avoidance of doubt, notwithstanding the Plan Arbitration Procedures, the
Bankruptcy Court shall retain ultimate supervisory jurisdiction over the administration of the
Trust until the end of the Term.
        Section 11.5 Severability. If any provision of this Agreement or the application thereof
to any person or circumstance shall be finally determined by a court of competent jurisdiction to
be invalid or unenforceable to any extent, the remainder of this Agreement, or the application of



                                                 26
Case 2:19-bk-24804-VZ        Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27               Desc
                              Main Document    Page 32 of 54


such provision to persons or circumstances other than those as to which it is held invalid or
unenforceable, shall not be affected thereby, and such provision of this Agreement shall be valid
and enforced to the fullest extent permitted by law.
         Section 11.6 Notices. Any notice or other communication hereunder shall be in writing
and shall be deemed to have been sufficiently given, for all purposes, if deposited, postage
prepaid, in a post office or letter box addressed to the person for whom such notice is intended:
If to the Trustee:
         [●]
         [●]
         [●]

       with copies to:

       [●]
       [●]
       [●]

       If to the Reorganized Debtor:
       91 Marguerite Drive
       Rancho Palos Verdes, CA 90275

       with copies to:

       [●]
       [●]
       [●]

        Section 11.7 Headings. The section headings contained in this Agreement are solely
for convenience of reference and shall not affect the meaning or interpretation of this Agreement
or of any term or provision hereof.




                                               27
Case 2:19-bk-24804-VZ     Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27          Desc
                           Main Document    Page 33 of 54


IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of the date first
written above.
                                           DEBTOR


                                                  _________________________________
                                                  Yueting Jia




                                                  TRUSTEE


                                                  _________________________________
                                                  Jeffrey D Prol, as Trustee




                        [Signature Page to Creditors Trust Agreement]
Case 2:19-bk-24804-VZ             Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27                 Desc
                                   Main Document    Page 34 of 54


                                               SCHEDULE A

                                              TRUST ASSETS


(a)        100% of the Preferred Units issued by Pacific Technology Holding LLC, having such
           rights, privileges, and preferences as set forth in the [Fourth] Amended and Restated
           Limited Liability Company Agreement of Pacific Technology Holding LLC, as amended
           from time to time;

(b)        100% of the [Preferred B Units]11 issued by Pacific Technology Holding LLC, having
           such rights, privileges, and preferences as set forth in the [Fourth] Amended and Restated
           Limited Liability Company Agreement of Pacific Technology Holding LLC, as amended
           from time to time;

(c)        fully-paid up warrant granted by Pacific Technology pursuant to its Fourth Restated and
           Amended Limited Liability Company Agreement to receive the 147,058,823 Trust FF
           Intelligent Shares, exercisable upon (a) the lifting or discharge of the Injunctions and (b)
           no later than the closing of the IPO (the “Warrant”).12

(d)        following the exercise of the Warrant and the indefeasible transfer of the Trust FF
           Intelligent Shares to the Trust, the Trust FF Intelligent Shares;

(e)        all financial assets of the Debtor (i.e., accounts, securities, or real property) wherever
           located, whether owned directly or through any nominee, including, but not limited, to
           any Seized China Assets of the Debtor in existence as of the Effective Date and
           remaining after the satisfaction of any claims recoverable from such assets under
           Applicable Law but excluding (i) any exempt assets of the Debtor under section 522 of
           the Bankruptcy Code, (ii) income of the Debtor after the Petition Date listed on Schedule
           J of the Debtor’s Schedules of Assets and Liabilities [Docket No. 28], and (iii) the
           Debtor’s rental agreements with Warm Time Inc. and any income derived from such
           rental agreements, or the proceeds thereof, provided that the inclusion of such assets in
           the Trust does not include the right to assert (x) any YT Claims except as set forth in
           Article 11.4(c) of the Plan or (y) causes of action of the Debtor’s estate except for those
           expressly permitted in Article 11.9 of the Plan;

(f)        all interests, claims, and causes of action owned by the Debtor (including through any
           nominee) in connection with Beijing Dongfang Cheyun Information Technology Co.,
           Ltd. in existence of the Effective Date;

(g)        the rights to recover property in accordance with Article 11.9 of the Plan and all proceeds
           thereof;




11
     NTD: Name to be confirmed pursuant to the amended and restated PT LLC Agreement.
12
     Structure to be confirmed by tax counsel.




                                                      27
Case 2:19-bk-24804-VZ       Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27                 Desc
                             Main Document    Page 35 of 54



(h)   the Call Option, subject to the rights of FF Global as set forth in Section 4.3.6 of the
      Trust Agreement, which Call Option may not be exercised or transferred by the Trust
      without the consent of FF Global;

(i)   the proceeds of the Trust Financing that are in excess of payments required to be made
      under the Plan;

(j)   the Debtor’s interests in Ford Field International Limited, a company organized in the
      British Virgin Islands; and

(k)   the cash contributions in the amount of $1,250,000 from Wei Gan pursuant to the Wei
      Gan Settlement.




                                               28
Case 2:19-bk-24804-VZ             Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27                           Desc
                                   Main Document    Page 36 of 54


                                                SCHEDULE B

                                    DISTRIBUTION WATERFALL


Trust Assets shall be distributed as follows:
(a)     First, to repay any amounts due and payable under the Trust Financing as of the Trust
        Distribution Date, if any, pursuant to the terms thereof;

(b)     Second, to repay any amounts due and payable under the DIP Financing if extended past
        the Effective Date pursuant to the terms of the DIP Note;

(c)     Third, holders of an Administrative Expense Claim, Priority Tax Claim, Priority Non-Tax
        Claim, or U.S. Secured Claim who have elected to receive Trust Interests in full and
        complete settlement, release, and discharge of their claim against the Debtor, are entitled
        to receive all Distributable Proceeds until each holder of such claims has received
        aggregate Trust Distributions (in cash or in kind) equal to the full amount of such
        holder’s Allowed amount (upon occurrence of which, such holders shall not receive any
        further Trust Distributions, including any Trust Distributions upon dissolution of the
        Trust); if at a given Trust Distribution Date, Distributable Proceeds are insufficient to
        satisfy all Allowed amounts of such claims, distributions shall be allocated pro rata based
        on their respective Allowed amounts; 1

(d)     Fourth, all remaining Trust Distributions shall be allocated (i) 95% to holders of
        Allowed Debt Claims, to be further allocated based on their respective Pro Rata Share),
        until each holder of an Allowed Debt Claim has received aggregate Trust Distributions
        (in cash or in kind) pursuant to this clause (d) equal to the full amount of such holder’s
        Debt Claim Distribution Amount (upon occurrence of which, the distribution allocation
        set forth in this clause (d) shall no longer apply to any further Trust Distributions,
        including any Trust Distributions upon dissolution of the Trust) and (ii) 5% to the
        Reorganized Debtor (or the economic equivalent of such Trust Distributions), provided
        that to the extent of any KCBI Settlements, such 5% shall be reduced so that the Pro Rata
        Share of distributions pursuant to clause (i) are the same as such distributions would be in
        the absence of such settlements;

(e)     Fifth, after all holders of Allowed Debt Claims have received Trust Distributions equal to
        their respective Debt Claim Distribution Amounts, any remaining Trust Distributions
        shall be allocated between the holders of Allowed Debt Claims (to be further allocated
        based on their Pro Rata Share) and the Reorganized Debtor, as follows:




1
 [NTD: Mechanism to be included to provide (i) holdback for Undetermined Claim Holding Beneficiary to the
extent any Debt Claims are undetermined on the Debt Claim Distribution Date, and (ii) distribution of any excess
amount held back to Holders of Allowed Debt Claims after the determination of all Debt Claims.]




                                                        29
Case 2:19-bk-24804-VZ     Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27         Desc
                           Main Document    Page 37 of 54


      Aggregate Trust Distributions             Reorganized   Holders of Allowed Debt
      Pursuant to Clause (e)                    Debtor        Claims

      (i) Amounts less than or equal to $1 50%                50%
      billion

      (ii) If the aggregate Trust Distributions 70%           30%
      pursuant to Clause (e) exceeds $1 billion,
      for the portion exceeding $1billion but no
      more than $2 billion

      (iii) If the aggregate Trust Distributions 80%          20%
      pursuant to Clause (e) exceeds $2 billion,
      for the portion that exceeds $2 billion but
      no more than $3 billions

      (iv) If the aggregate Trust Distributions 90%           10%
      pursuant to Clause (e) exceeds $3 billion,
      for the portion that exceeds $3 billion but
      no more than $4 billion

      (v) Automatic distribution of 95% to the 95%            5%
      Reorganized Debtor and amendment of
      the Trust Agreement if the aggregate
      Trust Distributions pursuant to Clause (e)
      exceeds $4 billion, for the portion that
      exceeds $4 billion.




                                           30
Case 2:19-bk-24804-VZ     Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27               Desc
                           Main Document    Page 38 of 54


                                    SCHEDULE C

     RESTRICTIONS ON DISPOSITION OF TRUST FF INTELLIGENT SHARES

                                      POST-IPO


Entry into Lockup Agreement    The Trust will enter into a lockup agreement (the “Lockup
                               Agreement”) with the same terms and conditions
                               regarding the sale of the Trust FF Intelligent Shares of any
                               lockup and sale restriction agreement that the insiders and
                               management of FF Intelligent or FF are subject to in
                               connection with the underwriting of the Trust FF
                               Intelligent Shares.

In connection with IPO         The Trust may sell the lesser of (a) what is permitted under
                               the Lockup Agreement or other sale restriction
                               arrangement with the underwriters of the IPO and FF
                               Intelligent or such other relevant listing vehicle and (b) 5%
                               of the Trust FF Intelligent Shares the Trust owns at the
                               time of the IPO.

Subsequent Sales               The Trust may sell the lesser of (a) what is permitted under
                               (i) the Lockup Agreement or other sale restriction
                               arrangement with the underwriters and FF Intelligent or
                               such other relevant listing vehicle and (ii) Applicable Law,
                               and (b):

                                  No more than 1% of Trust FF Intelligent Shares the
                                   Trust owns at the time of the IPO per month in the first
                                   year after any “no sale” period (under any Lockup
                                   Agreement or any Applicable Law);

                                  No more than 2% of Trust FF Intelligent Shares the
                                   Trust owns at the time of the IPO per month in the
                                   second year after any “no sale” period (under any
                                   Lockup Agreement or any Applicable Law);

                                  No more than 3% of Trust FF Intelligent Shares the
                                   Trust owns at the time of the IPO per month in the
                                   third year after any “no sale” period (under any Lockup
                                   Agreement or any Applicable Law); and

                                  No more than 4% of Trust FF Intelligent Shares the
                                   Trust owns at the time of the IPO per month in the
                                   fourth year after any “no sale” period (under any
                                   Lockup Agreement or any Applicable Law).




                                           31
Case 2:19-bk-24804-VZ   Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27               Desc
                         Main Document    Page 39 of 54



                             There shall be no limitations after the fourth year after any
                             “no sale” period (under any Lockup Agreement or any
                             Applicable Law).




                                         32
Case 2:19-bk-24804-VZ   Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27   Desc
                         Main Document    Page 40 of 54


                                  EXHIBIT A

                   FORM OF COMPLIANCE CERTIFICATE




                                      33
Case 2:19-bk-24804-VZ   Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27   Desc
                         Main Document    Page 41 of 54


                                      EXHIBIT B

                        INITIAL CREDITOR TRUST COMMITTEE




                                           34
Case 2:19-bk-24804-VZ      Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27               Desc
                            Main Document    Page 42 of 54


                                               Exhibit B

                                    Terms of the KCBI Settlements

         Terms not defined herein shall have the definitions set forth in the Trust Agreement attached
          hereto as Exhibit A.

         Each Key China Business Individual (“KCBI”) settlement will be among the following
          parties: (i) Yueting Jia, as the reorganized debtor (the “Reorganized Debtor”); (ii) the
          applicable KCBI, and (iii) the KCBI Claimant. The list of potential KCBI Claimants is
          included on Schedule C attached to the Plan.

         Subject to the agreement by the KCBI and the KCBI Claimant on acceptable terms as
          between such parties, (i) the KCBI will be provided a Debt Claim Allocation Amount equal
          to 105% of the sum of the Debt Claim Base Amount and the Debt Claim Supplemental
          Amount and (ii) the Reorganized Debtor will agree to reduce his distribution in the fourth
          priority of the Distribution Waterfall (as set forth in the Trust Agreement) on a dollar for
          dollar basis so that the pro rata distributions to holders of Trust Interests (other than the
          KCBI Claimant) are the same as if the KCBI settlement had not been entered into.

         Each KCBI settlement shall be subject to approval by the Bankruptcy Court under
          Bankruptcy Rule 9019.




                                                   35
Case 2:19-bk-24804-VZ   Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27   Desc
                         Main Document    Page 43 of 54


                                        Exhibit C

                                Exit Financing Term Sheet




                                           36
Case 2:19-bk-24804-VZ           Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27                      Desc
                                 Main Document    Page 44 of 54


                               Summary of Terms and Conditions (“Term Sheet”)14
                                                Yueting Jia’s
                                           Secured Exit Financing
                                               April 25, 2020
            This Term Sheet represents an outline of the terms pursuant to which Pacific Technology Holding
   LLC, a Delaware limited liability company (“Lender”), commits to provide the exit financing and facilitate
   the exit of Yueting Jia’s (the “Reorganized Debtor”) exit from bankruptcy under title 11 of the United States
   Code in the United States Bankruptcy Court for the Central District of California (“Bankruptcy Court”) being
   administered under Case No. 19-24804 (the “Chapter 11 Case”) upon the terms and conditions set forth in
   the under that certain letter regarding the Amendment to DIP Note, dated on or around the date hereof (the
   “Letter Amendment”), and this Term Sheet (the “Exit Financing”), to the Reorganized Debtor, and the
   creditors’ trust formed for the benefit of the creditors formed in connection with the plan of reorganization
   (the “Chapter 11 Plan”) under 11 U.S.C. §§ 101 et seq. (as now and hereafter in effect, or any successor
   statute, the “Bankruptcy Code”) for the Reorganized Debtor (the “Creditor’s Trust”, and together with
   Reorganized Debtor, the “Borrower”). The Exit Financing will be payable solely by the Creditor’s Trust with
   priority over all other distributions.


   LOAN STRUCTURE                         The Exit Financing shall consist of a term loan in the maximum amount
                                          of $5,000,000 (subject to any reduction in accordance with the terms of
                                          this Term Sheet, the “Exit Financing Commitment”) which will be
                                          advanced as set forth herein and used by the Borrower to make
                                          payments required under the Chapter 11 Plan and the funding of the
                                          Creditor’s Trust. The Exit Financing documents shall reflect the terms
                                          and provisions set forth in this Term Sheet and shall otherwise be
                                          substantially consistent with the DIP Note; provided that certain
                                          provisions, including the representations and warranties, covenants and
                                          events of default, shall be modified in a manner appropriate to reflect the
                                          emergence of Reorganized Debtor from the Chapter 11 Case.

                                          On April 23, 2020, Lender will have prefunded $1,000,000 of the Exit
                                          Financing Commitment by placing such amount in a client trust account
                                          held by Pachulski Stang Ziehl & Jones LLP (the “Trust Account”).

                                          On May 19, 2020, provided Funding Condition (i) is timely met, Lender
                                          will prefund $2,750,000 of the Exit Financing Commitment by placing
                                          such amount in the Trust Account; provided that Lender will use
                                          commercially reasonable efforts to place such amount in the Trust
                                          Account by May 18, 2020.

                                          If $2,750,000 of the Exit Financing Commitment is not placed by
                                          Lender in the Trust Account by May 19, 2020, then before the end of the
                                          business day on May 19, 2020, the Reorganized Debtor will advise the
                                          Bankruptcy Court that he is not going forward with the hearing
                                          confirming the Borrowing Order (the “Confirmation Hearing”) on May
                                          21, 2020 and at the Reorganized Debtor’s option, that the Reorganized
                                          Debtor is seeking a continuance of the Confirmation Hearing or intends
                                          to convert the Chapter 11 Case to a case under Chapter 7 of the
                                          Bankruptcy Code.

                                          Provided all closing conditions are met, Lender will fund $1,250,000
                                          into the Trust Account on the Effective Date (as defined in the Chapter


   14
        [NTD: Subject to ongoing review by the Creditors Committee, Lender, and the Debtor.]

                                                          37
Case 2:19-bk-24804-VZ   Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27                      Desc
                         Main Document    Page 45 of 54


                               11 Plan); provided that if Wei Gan funds $1,000,000 of the settlement
                               payment payable by her under the Chapter 11 Plan on or prior to May
                               26, 2020, then (i) the Exit Financing Commitment shall be reduced by
                               $1,000,000 and (ii) Lender shall only be required to fund the remaining
                               $250,000 on the 90th day after the Effective Date to the extent (a) the
                               Fee Excess (as defined below) is insufficient to pay such amount in full
                               and (b) Wei Gan fails to pay the $250,000 settlement payment payable
                               by her under the Chapter 11 Plan on or before the 90th day after the
                               Effective Date.

   FEE EXCESS                  Within two business days following the approval of final fee
                               applications of Professionals (as defined in the Chapter 11 Plan) by the
                               Bankruptcy Court, the following amount (the “Fee Excess”) will be
                               returned to the Lender from the Trust Account: the difference between
                               (x) the sum of (i) all DIP Financing, (ii) all funded Exit Financing, (iii)
                               the settlement payment paid by Wei Gan (if paid), and (iv) the
                               contributions of the Debtor from his postpetition salary and (y) the sum
                               of (i) the amount required to pay administrative expenses, (ii)
                               $1,250,000 set aside for expenses of the Creditor’s Trust and (iii)
                               $250,000. Unless and until Wei Gan has paid the $250,000 due on the
                               90th day after the Effective Date, $250,000 will be held in the Trust
                               Account and only released to the Lender if Wei Gan pays timely. If Wei
                               Gan does not pay the $250,000 within 90 days of the Effective Date, the
                               $250,000 held by Trust Account will be released to the Creditor’s Trust,
                               but if Wei Gan subsequently pays the $250,000 that amount will be
                               immediately turned over to the Lender.
   EXIT FINANCING ORDER        The “Exit Financing Order” shall mean an order entered by the
                               Bankruptcy Court consistent with the terms hereof (as amended in a
                               manner acceptable to the Lender) authorizing the Exit Financing on a
                               final basis on the terms described herein (or as amended in a manner
                               acceptable to the Lender), which order shall not be subject to appeal,
                               reconsideration or review.
   PREPAYMENTS                 Amount outstanding under the Exit Financing may be voluntarily repaid
                               at any time without premium or penalty, and any such amounts prepaid
                               may not be reborrowed.

                               The Exit Financing shall contain mandatory prepayments provisions,
                               including, but not limited to the following:
                                    Proceeds of any refinancings or borrowings; and
                                    Excess cash held by the Creditor’s Trust
                                    Proceeds of transactions
   CLOSING DATE                Immediately following the satisfaction of the closing condition and the
                               occurrence of the Effective Date.
   MATURITY DATE               The maturity date of the Exit Financing (the “Maturity Date”) shall be
                               the second anniversary of the Effective Date.

   INTEREST                    The interest shall be:
                                   1 - 12 months following the closing date of the Exit Financing,
                                       8.75%; and
                                   13 - 24 months following the closing date of the Exit Financing,
                                       12.75%;

                               All interest will be paid in kind and the rate at all times will be limited to
                               the maximum amount permitted by law.


                                                38
Case 2:19-bk-24804-VZ     Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27                     Desc
                           Main Document    Page 46 of 54


   SECURITY INTEREST;             The Exit Financing shall be secured by a first priority perfected security
   RECOURSE                       interest in all of the Exit Collateral and shall be payable solely from the
                                  Exit Collateral with no recourse to any other assets of the Borrower.

   EXIT COLLATERAL                “Exit Collateral” shall mean all now owned or acquired assets and
                                  property transferred by the Reorganized Debtor to the Creditor’s Trust,
                                  whether real or personal, tangible or intangible or otherwise, whenever
                                  acquired, and any and all proceeds therefrom, including without
                                  limitation: all other cash, accounts, deposit accounts, securities accounts,
                                  investment property, vehicles, documents, chattel paper, instruments,
                                  general intangibles, fixtures, letter of credit rights, accounts receivable,
                                  tax refunds, investment property, inventory, goods, plants and
                                  equipment, equipment, software, licenses, real property, leaseholds, all
                                  intercompany claims, any proceeds from insurance policies, and any and
                                  all proceeds therefrom, all intellectual property, including membership
                                  interests in Pacific Technologies and West Coast LLC.

   CLOSING CONDITIONS             Customary closing conditions and conditions precedent for financing
                                  this nature, including without limitation:

                                  (i) execution and delivery of an exit financing and all related
                                  documentation;

                                  (ii) the Exit Financing Order by the Bankruptcy Court;

                                  (iii) by May 7, 2020, the Reorganized Debtor will have received
                                  sufficient votes to confirm the Chapter 11 Plan; (b) on May 25, 2020,
                                  the Bankruptcy Court will have entered an order confirming the Chapter
                                  11 Plan; or (c) on June 30, 2020 the Chapter 11 Plan will have become
                                  effective (each of the following a “Funding Condition”); if any Funding
                                  Condition has not been met by the date specified, then all Exit Financing
                                  prefunded in the Trust Account will be returned to Lender two (2) days
                                  after providing notice to the Committee. If the Committee “validly
                                  objects” in accordance with this Term Sheet on or prior to the second
                                  day after such notice is given by Lender or a representative thereof, then
                                  the amount estimated on good faith by the Committee as damages to the
                                  bankruptcy estate for Lender’s breach shall be held back from the return
                                  of funds to Lender and retained in the Trust Account until the matter is
                                  resolved in accordance with this Term Sheet;

                                  (iv) the occurrence of the Effective Date; and

                       (v) such other closing conditions and conditions precedent that are
                       satisfactory to Lender.
   RETURN OF PREFUNDED The only basis for the committee to “validly object” to the return of the
   EXIT FINANCING      Exit Financing is if there is a good faith allegation that (i) Lender
                       defaulted in its obligations to prefund the May 19th payment or fund the
                       Effective Date payment (if Wei Gan fails to timely fund), which
                       obligations are separate and distinct from any of Lender’s obligations
                       under the DIP Note (and any such default under the DIP Note would not
                       be a valid basis to object to return of the Exit Financing), and (ii) such
                       breach caused damages to the bankruptcy estate.

                                  If the Committee validly objects to turnover of any portion of the Exit
                                  Financing, the Committee and the Lender must first mediate the dispute.


                                                   39
Case 2:19-bk-24804-VZ   Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27                   Desc
                         Main Document    Page 47 of 54


                               In the first instance, the parties agree that Mitchell Goldberg would be
                               the mediator. If Mitchell Goldberg is unavailable, the Committee and
                               Lender will attempt to mutually agree on a different mediator. If the
                               Committee and Lender cannot agree on a mediator, the Bankruptcy
                               Court will then choose.

                               If the mediation is unsuccessful, the Bankruptcy Court will resolve
                               whether Lender defaulted and the amount of damages, if any.

   COVENANTS                   Customary affirmative, negative, and financial covenants for exit
                               financings of this nature and such other covenants that are satisfactory to
                               Lender (including, without limitation, (i) delivery of financial
                               statements, cash flow forecasts, variance reports and notices of events of
                               default and (ii) customary negative covenants including limitations on
                               liens, investments, loans and advances, indebtedness, sales of assets,
                               affiliate transactions or entry into material contractual obligations
                               without the consent of Lender).

   EVENTS OF DEFAULT           Customary events of default for exit financings of this type, subject to
                               customary grace periods and cure periods to be agreed (each, an Event
                               of Default”), including without limitation, failure to comply with
                               covenants in the Exit Financing documents.

   DIP AMENDMENT               The Reorganized Debtor and the Official Committee of Unsecured
                               Creditors appointed in the Chapter 11 Case (the “Committee”) agree
                               that Lender’s obligations hereunder are subject to the performance of the
                               Reorganized Debtor and the Committee of their obligations under that
                               Letter Amendment.

   MISCELLANEOUS               Among other customary miscellaneous provisions, the following:
                                  Indemnification of Lender and each of their directors, officers,
                                     employees, agents, shareholders, affiliates, members and
                                     advisors.
                                  Reimbursement of all fees, costs and expenses of Lender
                                     (including without limitation, all fees and expenses of legal
                                     counsel, financial advisors, or any other professionals,
                                     consultants or advisors retained by Lender (including all accrued
                                     and unpaid fees and expenses).
                                  Subject to definition documentation (including, without
                                     limitation, any promissory notes, agreements, security
                                     agreements, motions, the Exit Financing Order, and such other
                                     agreements, exhibits, schedules, instruments, filings as
                                     determined by the Lender in its sole discretion) satisfactory in
                                     each and every respect to the Lender in their sole discretion.
                                  Governing Law: California




                                               40
Case 2:19-bk-24804-VZ     Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27               Desc
                           Main Document    Page 48 of 54


                                              Exhibit D

                         Members of the Initial Creditor Trust Committee


         Subject to the Debtor’s approval, the members of the initial Creditor Trust Committee shall

   be:

            1. Ping An Bank, Ltd. Beijing Branch;

            2. China Minsheng Trust Co., Ltd.;

            3. Shanghai Leyu Chuangye Investment Management Center LP;

            4. Jiangyin Hailan Investment Holding Co., Ltd.; and

            5. Shanghai Qichengyueming Investment Partnership Enterprise.




                                                  41
Case 2:19-bk-24804-VZ               Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27                            Desc
                                     Main Document    Page 49 of 54


                                                            Exhibit E

                                          Supplement to Schedule A of the Plan


              Pursuant to the Debtor’s Third Amended Plan of Reorganization Under Chapter 11 of the

   Bankruptcy Code [Docket No. 464] (the “Plan”)15 the Debtor previously disclosed his intention to

   preserve Causes of Action in Article 8.3 of the Plan, as set forth below:


              Except as otherwise provided in the Plan (including with respect to the Yidao Claims and as

   set forth in Article 11.4 of the Plan), or in any contract, instrument, or other agreement or document

   entered into in connection with the Plan, including the Plan Supplement, in accordance with section

   1123(b) of the Bankruptcy Code, the Reorganized Debtor shall retain and may enforce, sue on,

   settle, compromise, otherwise resolve, discontinue, abandon, or dismiss any and all claims,

   counterclaims, defenses, and rights (including setoff rights) that may be asserted in the Causes of

   Action, suits, and proceedings listed on the “Schedule of Retained Actions,” attached as Schedule A

   to the Plan (“Schedule A”) (collectively, the “Retained Actions”), whether at law or in equity,

   whether known or unknown, that the Debtor or his Estate may hold against any Entity (other than

   Claims, rights, Causes of Action, suits, and proceedings released pursuant to Articles 6.6, 11.4, or

   11.9 of the Plan), without the approval of the Bankruptcy Court, the Confirmation Order, and any

   contract, instrument, release, indenture, or other agreement entered into in connection herewith.


              The Reorganized Debtor expressly reserves all rights to prosecute any and all Retained

   Actions against any Entity. Unless any Retained Action against an Entity is expressly waived,

   relinquished, exculpated, released, compromised, or settled in the Plan or a Bankruptcy Court order,

   the Reorganized Debtor expressly reserves all Retained Actions for later adjudication, and, therefore,

   no preclusion doctrine, including the doctrines of res judicata, collateral estoppel, issue preclusion,

   claim preclusion, estoppel (judicial, equitable, or otherwise), or laches shall apply to such Retained

   Action upon, after, or as consequence of, confirmation or consummation of the Plan.




   15
        Capitalized terms not otherwise defined herein shall have the same meanings as set forth in the Plan.

                                                                 42
Case 2:19-bk-24804-VZ       Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27                Desc
                             Main Document    Page 50 of 54


          Notwithstanding and without limiting the generality of Article 8.3 of the Plan, the specific

   types of Causes of Action detailed below are expressly preserved by the Debtor and/or the

   Reorganized Debtor.


          The below includes entities that are party to or that the Debtor believes may become party to

   litigation, arbitration or any other type of adversarial proceeding or dispute resolution proceeding,

   whether formal or informal, judicial or non-judicial. Unless otherwise released by the Plan, the

   Debtor expressly reserves all Causes of Action against or related to all entities that are party to or

   that may in the future become party to litigation, arbitration, or any other type of adversarial

   proceeding or dispute resolution proceeding, whether formal or informal, judicial or non-judicial,

   including, without limitation, dealers, creditors, customers, employees, utilities, suppliers, vendors,

   insurers, sureties, factors, lenders, bondholders, lessors or any other parties, regardless of whether

   such entity is included below.


          In addition to the Retained Actions that currently appear on Schedule A to the Plan the

   Debtor (i) supplements Schedule A with the divorce action pending before Judge Wang Yang (Case

   Number 2019-89234) filed on November, 15, 2019 by the Debtor’s estranged wife Wei Gan in the

   People’s Court of Chaoyang District, Beijing, China under Article 12(1) of the Civil Procedure Law

   of the People’s Republic of China, (ii) reserves and retains and may enforce, sue on, settle,

   compromise, otherwise resolve, discontinue, abandon, or dismiss any and all claims, rights, and

   Causes of Action for contribution, reimbursement, or other legal and equitable rights relating to

   obligations for which another party may be co-liable for any debt of the Debtor, including, without

   limitation, the parties and debts identified on Schedule H of the Debtor’s Schedules of Assets and

   Liabilities [Docket No. 28] (as amended, modified, or supplemented by Amended Schedules of

   Assets and Liabilities and Statement of Financial Affairs [Docket No. 427]) (collectively, the

   “Contribution Actions”), and (iii) identifies the specified actions listed below. For the avoidance of

   doubt, all Contribution Actions shall be treated as Retained Actions under the Plan, and the Debtor

   and/or the Reorganized Debtor hereby retains rights to contribution and subrogation with respect to

   any of the Contribution Actions.


                                                     43
Case 2:19-bk-24804-VZ       Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27               Desc
                             Main Document    Page 51 of 54


          Without limiting the foregoing, the Debtor reserves claims of subrogation against the creditor

   and claims of contribution against the co-Debtor identified below:


                      Creditor                            Co-Debtor

                    SHENZHEN
                   LETV XINGEN
                                               乐视控股（北京）有限公司
                        #1
                   INVESTMENT              /LE HOLDINGS (BEIJING) CO., LTD.
                       MGT
                    SHENZHEN
                   LETV XINGEN       乐安影云（天津）文化传播合伙企业（有限合伙）
                        #1              /LEAN YINGYUN (TIANJIN) CULTURE
                   INVESTMENT         COMMUNICATION LIMITED PARTNERSHIP
                       MGT
                    SHENZHEN
                   LETV XINGEN       乐正荣通（天津）文化传播合伙企业（有限合伙）
                        #1            /LEZHENG RONGTONG (TIANJIN) CULTURE
                   INVESTMENT          COMMUNICATION LIMITED PARTNERSHIP
                       MGT
                    SHENZHEN
                   LETV XINGEN       乐普影天（天津）文化传播合伙企业（有限合伙）
                        #1              /LEPU YINGTIAN (TIANJIN) CULTURE
                   INVESTMENT         COMMUNICATION LIMITED PARTNERSHIP
                       MGT

                     SHENZHEN
                   LETV XINGEN                 乐视控股（北京）有限公司
                     M&A FUND              /LE HOLDINGS (BEIJING) CO., LTD.
                    INVEST MGT

                     SHENZHEN
                   LETV XINGEN       乐视网信息技术(北京)股份有限公司/Leshi Internet
                     M&A FUND          Information and Technology Corp.,Bei Jing
                    INVEST MGT
                        China
                     Evergrande                          Smart King Ltd
                        Group
                    CHONGQING
                        LETV
                                               乐视控股（北京）有限公司
                   COMMERCIAL
                    FACTORING              /LE HOLDINGS (BEIJING) CO., LTD.
                         CO
                      TIANJIN
                       JIARUI           Xinle Asset Management (Tianjin) Partnership
                   HUIXIN CORP                      (Limited Partnership)
                    MGT CO LTD



                                                    44
Case 2:19-bk-24804-VZ        Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27                   Desc
                              Main Document    Page 52 of 54


                      TIANJIN
                       JIARUI         乐视网信息技术(北京)股份有限公司/Leshi Internet
                    HUIXIN CORP         Information and Technology Corp.,Bei Jing
                    MGT CO LTD

                      TIANJIN
                       JIARUI            Le Shi Zhi Xin Electronic Technology (Tianjin)
                    HUIXIN CORP                             Limited
                    MGT CO LTD

                      TIANJIN
                      YINGXIN                    乐视控股（北京）有限公司
                    XINHENG INV              /LE HOLDINGS (BEIJING) CO., LTD.
                    CONSULTING
                        Liu
                                                           Liu Hong
                    Hong（Letv）
                      SHI, PENG                           SHI, PENG
                      CENTURY
                        SAGE                LETV SPORTS CULTURE INDUSTRY
                     SCIENTIFIC             DEVELOPMENT (BEIJING) CO., LTD.
                     HK LIMITED




   Additionally, the Debtor reserves all causes of action against those parties listed below:

                                                   Name
                                     LIU, HONG （FF Henry Liu）
                                          SHAN, LIUHUAN
                                          SHAN, LIUHUAN
                           BEIJING LAN CAPITAL INVESTMENT FUND MGMT
                          SHANGHAI LAN CAI ASSET MANAGEMENT CO LTD
                          SHENZHEN JINCHENG COMM FACTORING CO LTD
                           TAO YUN CAPITAL CO LTD AKA TWC GROUP CO




                                                     45
            Case 2:19-bk-24804-VZ                 Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27                                       Desc
                                                   Main Document    Page 53 of 54

                                          PROOF OF SERVICE OF DOCUMENT
 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                           10100 Santa Monica Boulevard, 13th Floor, Los Angeles, CA 90067

  A true and correct copy of the foregoing document entitled (specify):
  NOTICE OF FILING OF PLAN SUPPLEMENT TO DEBTOR’S THIRD AMENDED PLAN OF
  REORGANIZATION UNDER CHAPTER 11 OF THE BANKRUPTCY CODE
  will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
  the manner stated below:

 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
 Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 April 25, 2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
 following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


                                                                                          Service information continued on attached page

 2. SERVED BY UNITED STATES MAIL:
 On (date) April 25, 2020, I served the following persons and/or entities at the last known addresses in this bankruptcy case
 or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
 class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
 will be completed no later than 24 hours after the document is filed.


                                                                                          Service information continued on attached page

 3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for
 each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) April 25, 2020, I served the
 following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such
 service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that
 personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.



                                                                                          Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 April 25, 2020               Sophia L. Lee                                                   /s/ Sophia L. Lee
 Date                         Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
DOCS_LA:329178.1 46353/002
        Case 2:19-bk-24804-VZ                Doc 678 Filed 04/25/20 Entered 04/25/20 23:36:27                                       Desc
                                              Main Document    Page 54 of 54


SERVICE INFORMATION FOR CASE NO. 2:19-bk-24804-VZ
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)

        Tanya Behnam tbehnam@polsinelli.com, tanyabehnam@gmail.com
        Jerrold L Bregman ecf@bg.law, jbregman@bg.law
        Jeffrey W Dulberg jdulberg@pszjlaw.com
        Lei Lei Wang Ekvall lekvall@swelawfirm.com, lgarrett@swelawfirm.com;gcruz@swelawfirm.com;jchung@swelawfirm.com
        Stephen D Finestone sfinestone@fhlawllp.com
        Richard H Golubow rgolubow@wghlawyers.com, pj@wcghlaw.com;jmartinez@wghlawyers.com;Meir@virtualparalegalservices.com
        Ben H Logan blogan@omm.com
        Robert S Marticello Rmarticello@swelawfirm.com, gcruz@swelawfirm.com;lgarrett@swelawfirm.com;jchung@swelawfirm.com
        David W. Meadows david@davidwmeadowslaw.com
        Kevin Meek kmeek@robinskaplan.com, kevinmeek32@gmail.com;kmeek@ecf.inforuptcy.com
        John A Moe john.moe@dentons.com, glenda.spratt@dentons.com
        Kelly L Morrison kelly.l.morrison@usdoj.gov
        Matthew J Olson olson.matthew@dorsey.com, stell.laura@dorsey.com
        Malhar S Pagay mpagay@pszjlaw.com, bdassa@pszjlaw.com
        Diana M Perez , diana-perez-7352@ecf.pacerpro.com
        Christopher E Prince cprince@lesnickprince.com, jmack@lesnickprince.com;cprince@ecf.courtdrive.com
        Victor A Sahn vsahn@sulmeyerlaw.com,
         pdillamar@sulmeyerlaw.com;pdillamar@ecf.inforuptcy.com;vsahn@ecf.inforuptcy.com;cblair@sulmeyerlaw.com;cblair@ecf.inforuptcy.com
         ;dlee@metallawgroup.com;dlee@ecf.inforuptcy.com
        Randye B Soref rsoref@polsinelli.com, ccripe@polsinelli.com;ladocketing@polsinelli.com
        Benjamin Taylor btaylor@taylorlawfirmpc.com
        United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
        Felix T Woo fwoo@ftwlawgroup.com, admin@ftwlawgroup.com
        Claire K Wu ckwu@sulmeyerlaw.com, mviramontes@sulmeyerlaw.com;ckwu@ecf.courtdrive.com;ckwu@ecf.inforuptcy.com
        Emily Young pacerteam@gardencitygroup.com, rjacobs@ecf.epiqsystems.com;ECFInbox@epiqsystems.com
        David B Zolkin dzolkin@ztlegal.com, maraki@ztlegal.com,sfritz@ztlegal.com




    This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 2012                                                                            F 9013-3.1.PROOF.SERVICE
DOCS_LA:329178.1 46353/002
